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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    SOLAR BIOTECH, INC., et al.,1                         Case No. 24-11402 (LSS)

                   Debtors.                               (Jointly Administered)


                       SCHEDULES OF ASSETS AND LIABILITIES FOR
                                    NOBLEGEN INC.
                                  (CASE NO. 24-11403)




1
 The Debtors in these Chapter 11 Cases are Solar Biotech, Inc. and Noblegen Inc. The location of Debtors' principal
place of business is 5516 Industrial Park Rd, Norton, VA 24273, Attn: Alex Berlin.


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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    SOLAR BIOTECH, INC., et al.,1                           Case No. 24-11402 (LSS)

                    Debtors.                                (Jointly Administered)


                GLOBAL NOTES AND STATEMENT OF LIMITATIONS
          AND METHODOLOGY REGARDING THE DEBTORS' SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        The above-captioned debtors and debtors in possession (each, a "Debtor," and collectively,
the "Debtors") are filing their respective Schedules of Assets and Liabilities (collectively, the
"Schedules") and Statements of Financial Affairs (collectively, the "Statements," and together with
the Schedules, collectively, the "Schedules and Statements") in the United States Bankruptcy Court
for the District of Delaware (the "Court"). The Debtors, with the assistance of their professional
advisors, prepared the Schedules and Statements in accordance with section 521 of title 11 of the
United States Code, 11 U.S.C. §§ 101–1532 (the "Bankruptcy Code") and Rule 1007 of the Federal
Rules of Bankruptcy Procedure (the "Bankruptcy Rules").

        These Global Notes and Statement of Limitations and Methodology Regarding the Debtors'
Schedules and Statements (the "Global Notes") are incorporated by reference in, and comprise an
integral part of, all of the Schedules and Statements, and should be referred to and considered in
connection with any review of the Schedules and Statements.2

       The Debtors have used commercially reasonable efforts to ensure the accuracy and
completeness of the information and data used in preparing the Schedules and Statements.
Inadvertent errors, omissions or inaccuracies may exist in the Schedules and Statements. The
Debtors and their estates reserve all rights to amend or supplement the Schedules and Statements
as may be necessary and appropriate.

I.           Notes Applicable to all Schedules and Statements

Note 1: Reporting Date. All asset and liability information, except where otherwise noted, is
provided as of June 23, 2024 (the "Petition Date").




1
 The Debtors in these Chapter 11 Cases are Solar Biotech, Inc. and Noblegen Inc. The location of Debtors' principal
place of business is 5516 Industrial Park Rd, Norton, VA 24273, Attn: Alex Berlin.
2
  These Global Notes supplement and are in addition to any specific notes contained in each Debtor's Schedules or
Statements. The fact that the Debtors have prepared a Global Note with respect to any of the individual Debtor's
Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to exclude
the applicability of such Global Note to any of the Debtors' other Schedules and Statements, as appropriate.


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Note 2: Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars. To the
extent any amounts had to be converted to U.S. dollars, the conversion rate used was as of June
23, 2024.

Note 3: Signatory. Alex Berlin has signed each set of Schedules and Statements. Mr. Berlin
serves as Chief Executive Officer and is an authorized signatory for each of the Debtors in these
chapter 11 cases. In reviewing and signing the Schedules and Statements, Mr. Berlin has
necessarily relied upon the efforts, statements, advice, and representations of personnel of the
Debtors and their legal and financial advisors. Mr. Berlin has not personally verified and could
not personally verify the accuracy of each such statement and representation, but believes them to
be true, correct and accurate as of the date he signed the Schedules and Statements.

Note 4: Basis of Presentation. The Schedules and Statements do not purport to represent financial
statements prepared in accordance with Generally Accepted Accounting Principles in the United
States ("GAAP"), nor are they intended to be fully reconciled to the financial statements of each
Debtor. The Schedules and Statements contain unaudited information that is subject to further
review and potential adjustment. The Schedules and Statements reflect the Debtors' reasonable
efforts to report the assets and liabilities of each Debtor on an unconsolidated basis. These
Schedules and Statements were not filed with the United States Securities and Exchange
Commission (the "SEC") or any other authority, and neither the SEC nor any state authority has
passed upon the accuracy or adequacy of the Schedules and Statements or upon the merits of the
Schedules and Statements.

Note 5: Estimates and Assumptions. The preparation of the Schedules and Statements required
the Debtors to make reasonable estimates and assumptions with respect to the reported amounts of
assets and liabilities, the amount of contingent assets and contingent liabilities on the date of the
Schedules and Statements, and the reported amounts of revenues and expenses during the
applicable reporting periods. Actual results could differ from such estimates.

Note 6: Totals. All totals that are included in the Schedules and Statements represent totals of all
known amounts. To the extent there are undetermined amounts, the actual total may be different
from the listed total.

Note 7: Confidential Information. There are instances in the Schedules and Statements where the
Debtors deemed it necessary and appropriate to redact from the public record information such as
addresses. The Debtors have used this approach for the protection of sensitive commercial
information or for the privacy of the applicable individual. The alterations are limited to only what
is necessary to protect the Debtors or the applicable third party.

Note 8: Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
may not have listed all of their causes of action or potential causes of action against third parties
as assets in their Schedules and Statements, including, without limitation, avoidance actions arising
under chapter 5 of the Bankruptcy Code and actions under other relevant bankruptcy and non-
bankruptcy laws to recover assets. The Debtors reserve all of their rights with respect to any cause
of action (including avoidance actions), controversy, right of setoff, cross claim, counterclaim, or
recoupment and any claim on contracts or for breaches of duties imposed by law or in equity,
demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment,


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account, defense, power, privilege, license, and franchise of any kind or character whatsoever,
known, unknown, fixed or contingent, matured or unmatured, suspected or unsuspected, liquidated
or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively,
whether arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or
pursuant to any other theory of law (collectively, "Causes of Action") they may have, and neither
these Global Notes nor the Schedules and Statements shall be deemed a waiver of any claims or
Causes of Action or in any way prejudice or impair the assertion of such claims or Causes of Action.

Note 9: Claim Designation. Any failure to designate a claim in the Schedules and Statements as
"contingent," "unliquidated," or "disputed" does not constitute an admission by the Debtors that
such claim or amount is not "contingent," "unliquidated," or "disputed." The Debtors reserve all
of their rights to dispute, or to assert offsets or defenses to, any claim reflected on their Schedules
or Statements on any grounds, including, but not limited to, amount, liability, priority, status, or
classification, or to otherwise subsequently designate any claim as "contingent," "unliquidated,"
or "disputed." Moreover, the Debtors reserve all of their rights to amend their Schedules and
Statements as necessary and appropriate. Listing a claim does not constitute an admission of
liability by the Debtors.

Note 10: Fiscal Year. Each Debtor's fiscal year ends on or about December 31.

Note 11: Unliquidated Claim Amounts. Claim amounts that could not be readily quantified by
the Debtors are scheduled as "unliquidated."

Note 12: Undetermined Amounts. The description of an amount as "undetermined" is not
intended to reflect upon the materiality of such amount.

Note 13: Credits and Adjustments. The claims of individual creditors for, among other things,
goods, products, services, or taxes are listed as the amounts entered on the Debtors' books and
records and may not reflect credits, allowances, or other adjustments due from such creditors to
the Debtors. The Debtors reserve all rights with regard to such credits, allowances, and other
adjustments, including the right to assert claims objections and/or setoffs with respect to the same.

Note 14: Insiders. For purposes of the Schedules and Statements, the Debtors define "insiders" to
include the following: (a) directors; (b) officers; (c) holders of interests in excess of 20% of the
voting interests of one of the Debtor entities (whether directly or indirectly); (d) relatives of
directors, officers, or shareholders of the Debtors (to the extent known by the Debtors); and (e)
Debtor/non-Debtor affiliates.

Persons listed as "insiders" have been included for informational purposes only. The Debtors do
not take any position with respect to: (a) such person's influence over the control of the Debtors;
(b) the management responsibilities or functions of such individual; (c) the decision-making or
corporate authority of such individual; or (d) whether such individual could successfully argue that
he or she is not an "insider" under applicable law, including the federal securities laws, or with
respect to any theories of liability or for any other purpose.

Note 15: Payments. Prior to the Petition Date, the Debtors maintained a cash management and
disbursement system in the ordinary course of their business (the "Cash Management System") (as
described in the Debtors' Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to

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(A) Continue to Operate Their Cash Management System, (B) Maintain Current Bank Accounts,
(C) Honor Certain Prepetition Obligations Related Thereto, and (D) Maintain Existing Business
Forms; and (II) Granting Related Relief [Docket No. 8]) (the "Cash Management Motion").
Although efforts have been made to attribute open payable amounts to the correct legal entity, the
Debtors reserve the right to modify or amend their Schedules and Statements to attribute such
payment to a different legal entity, if appropriate.

Note 16: Reservation of Rights. In preparing the Schedules and Statements, the Debtors relied on
unaudited financial data derived from their books and records that was available at the time of their
preparation. Although the Debtors have made every reasonable effort to ensure the accuracy and
completeness of the Schedules and Statements, inadvertent errors or omissions might exist and
subsequent information or discovery might result in material changes or modification to the
Schedules and Statements that require the Debtors to file amended Schedules and Statements. The
Debtors reserve all rights under Bankruptcy Rule 1009 to amend or modify any of the
Schedules and Statements, including with respect to the treatment, characterization,
classification, amount, omission, or inclusion of any claims, assets, liabilities, or executory
contracts, and to the extent necessary to advance positions in these chapter 11 cases that might
conflict with the Schedules and Statements.

II.       Notes to Schedules of Assets and Liabilities

1.        Schedule A/B – Assets. The Debtors have potentially excluded the following categories of
          assets from the Schedules and Statements: deferred tax assets; certain intangibles; deferred
          revenue accounts; or goodwill. Other immaterial assets may also have been excluded.

          Schedule A/B, Part 1 – Cash. The cash and cash equivalents listed in the Schedules reflect
          values as of June 23, 2024.

          Schedule A/B, Part 11 – All Other Assets. Except where otherwise noted, the value of all
          assets listed on Schedule A/B are calculated as of June 23, 2024.

          Schedule A/B, Part 8 – Other Machinery, fixtures, and equipment (excluding farm machinery
          and equipment). The values provided are based on replacement costs estimated by Debtor
          Noblegen. The Debtors will attempt to obtain the fair market value of the equipment listed
          through the sale process in the Chapter 11.

          Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
          including Counterclaims of the Debtors and Rights to Setoff Claims. In the ordinary
          course of their business, the Debtors may have accrued, or may subsequently accrue,
          certain rights to counter-claims, cross-claims, setoffs, credits, rebates, or refunds with their
          customers, insurance agencies, or insurance carriers. In addition, the Debtors believe that
          they may possess certain claims and causes of action against various parties. Accordingly,
          certain of the Debtors may become party to litigation in which such Debtor may assert
          claims as a plaintiff or counterclaims and/or crossclaims as a defendant. Because such
          claims are unknown to the Debtors and not quantifiable as of the Petition Date, they are
          not listed on Schedule A/B, Part 11.



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2.        Schedule D – Creditors Who Have Claims Secured by Property.

          Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
          Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
          immunity from avoidance of any lien purported to be granted or perfected in any specific
          asset to a secured creditor listed on Schedule D of any Debtor. Moreover, although the
          Debtors have scheduled claims of various creditors as secured claims, the Debtors reserve
          all rights to dispute or challenge the secured nature of any such creditor's claim or the
          characterization of the structure of any such transaction or any document or instrument
          related to such creditor's claim, subject to the Debtors' rights pursuant to any applicable
          court order. By listing an "amount of claim" in Schedule D, the Debtors are not admitting
          or waiving any rights to assert that all or any portion of such claim is wholly unsecured.
          Further, the listing of a claim as secured is not an admission as to the validity of any lien.

          The descriptions provided in Schedule D are intended only to be a summary. In certain
          instances, a Debtor may be a co-obligor, or guarantor with respect to scheduled claims of
          other Debtors, and no claim set forth on Schedule D of any Debtor is intended to
          acknowledge claims of creditors that are otherwise satisfied or discharged by other
          entities. Nothing in Schedule D and/or the Notes shall be deemed a modification or
          interpretation of the terms of such agreements.

          Detailed descriptions of the Debtors' prepetition debt structure and descriptions of collateral
          relating to the debt contained on Schedule D are contained in the Declaration of Alex Berlin
          in Support of Debtors' Chapter 11 Petitions and First Day Motions [Docket No. 3] (the
          "First Day Declaration").

          Except as specifically stated, real property lessors, utility companies, and other parties that
          may hold security deposits have not been listed on Schedule D. The Debtors reserve all
          rights, claims, and causes of action with respect to claims associated with any contracts and
          agreements listed on Schedule D or Schedule G, including the right to dispute or challenge
          the characterization or the structure of any transaction, document or instrument (including
          any intercompany agreement) related to a creditor's claim. Nothing herein shall be
          construed as an admission by the Debtors of the legal rights of the claimant or a waiver of
          the Debtors' right to recharacterize or reclassify such claim or contract.

3.        Schedule E/F – Creditors Who Have Unsecured Claims. The Debtors allocated liabilities
          between the prepetition and postpetition periods based on the information and research
          conducted in connection with the preparation of the Schedules and Statements. Some of
          the scheduled liabilities are unknown, contingent and/or unliquidated at this time. In such
          cases, the amounts are listed as "Undetermined." Accordingly, the Schedules and the
          Statements may not equal the aggregate value of the Debtors' total liabilities as noted on
          any previously issued financial statements.

          Paid Claims. The Debtors have authority to pay certain outstanding prepetition liabilities
          pursuant to the Bankruptcy Court's first day orders (collectively, the "First Day Orders").
          As such, certain liabilities listed in these Schedules and Statements may have been
          subsequently reduced or satisfied pursuant to the First Day Orders notwithstanding the


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          fact that the Debtors have listed claims and payables as of the Petition Date in these
          Schedules and Statements.

          Excluded Liabilities. The Debtors have potentially excluded the following categories of
          liabilities from the Schedules and Statements: deferred tax liabilities; and certain accrued
          liabilities including salaries and employee benefits. Other immaterial liabilities may also
          have been excluded.

          Part 1 – Creditors with Priority Unsecured Claims. The listing of a claim on Schedule
          E/F, Part 1, does not constitute an admission by the Debtors that such claim or any portion
          thereof is entitled to priority treatment under section 507 of the Bankruptcy Code.

          Pursuant to the Interim Order (I) Authorizing Debtors to (A) Pay Prepetition Wages,
          Reimbursable Expenses, Employee Benefit Obligations and Other Compensation and (B)
          Continue Compensation and Employee Benefits Programs and Pay Related Administrative
          Obligations; and (II) Granting Related Relief [Docket No. 43] (the "Employee Wage
          Order"), the Debtors received authority to pay certain prepetition obligations, including
          certain employee wages and other employee benefits in the ordinary course of business.
          The Debtors believe that (but cannot guarantee that) such claims will be satisfied in the
          ordinary course during the chapter 11 cases pursuant to the authority granted in the
          Employee Wage Order or other order that may be entered by the Bankruptcy Court.
          Additionally, claims against the Debtors on account of wage or wage-related obligations
          may maintain priority under section 507 of the Bankruptcy Code, but are subject to the
          priority cap imposed under subsections (a)(4) and (a)(5) of section 507 of the Bankruptcy
          Code.

          Part 2 – Creditors with Nonpriority Unsecured Claims. The liabilities identified in
          Schedule E/F, Part 2, are derived from the Debtors' books and records. The Debtors made
          reasonable attempts to set forth their unsecured obligations, although the actual amount of
          claims against the Debtors may vary from those liabilities represented on Schedule E/F,
          Part 2. The listed liabilities may not reflect the correct amount of any unsecured creditor's
          allowed claims or the correct amount of all unsecured claims. The amounts listed on
          schedule E/F may not reflect any right of setoff or recoupment, and the Debtors reserve
          any such setoff or recoupment rights. Additionally, certain creditors may assert
          mechanics', materialman's, or other similar liens against the Debtors for amounts listed in
          Schedule E/F.

          Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties to
          executory contracts and unexpired leases. Such prepetition amounts, however, may be
          paid in connection with the assumption or assumption and assignment of an executory
          contract or unexpired lease. In addition, Schedule E/F, Part 2, does not include claims that
          may arise in connection with the rejection of any executory contracts and unexpired leases,
          if any, that may be or have been rejected by the Debtors.

          In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were incurred
          on various dates or on a date or dates that are unknown to the Debtors or are subject to
          dispute. Where the determination of the date on which a claim arose, accrued, or was


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          incurred would be unduly burdensome and costly to the Debtors' estates, the Debtors have
          not listed a specific date or dates for such claim.

          As of the time of filing of the Schedules and Statements, the Debtors may not have
          received all invoices for payables, expenses, and other liabilities that may have accrued
          prior to the Petition Date. Accordingly, the information contained in Schedules D and E/F
          may be incomplete. The Debtors reserve their rights to amend Schedules D and E/F if, or
          when, the Debtors receive such invoices.

          Trade Payables. To the extent that goods were delivered under purchase orders prior to
          the Petition Date, vendors' claims with respect to such delivered goods are included on
          Schedule E/F.

4.        Schedule G – Executory Contracts and Unexpired Leases. Although reasonable efforts
          have been made to ensure the accuracy of Schedule G, inadvertent errors, omissions or
          over inclusions may have occurred. The Debtors hereby reserve all rights to dispute the
          validity, status or enforceability of any contract or other agreement set forth in Schedule G
          that may have expired or may have been modified, amended and supplemented from time
          to time by various amendments, restatements, waivers, estoppel certificates, letters, and
          other document, instruments and agreements which may not be listed therein. Also,
          Schedule G is intended to contain all of the Debtors’ contracts and agreements as of the
          Petition Date. It is possible that some of the contracts or agreements listed on Schedule G
          have expired or otherwise terminated pursuant to their terms since the Petition Date or have
          been rejected by the Debtors. The presence of a contract or agreement on Schedule G does
          not constitute an admission by the Debtors that such contract or agreement is an executory
          contract or unexpired lease.

          Certain of the executory contracts and unexpired leases listed on Schedule G may contain
          certain renewal options, guarantees of payment, options to purchase, rights of first refusal,
          right to lease additional space, and other miscellaneous rights. These rights, powers,
          duties, and obligations are not set forth separately on Schedule G. In addition, the Debtors
          may have entered into various other types of agreements in the ordinary course of their
          business, such as easements, rights of way, subordination, nondisturbance, and atonement
          agreements, supplemental agreements, amendments/letter agreements, and title
          agreements. To the extent that such documents constitute executory contracts, the
          documents may have been omitted.

          In the ordinary course of business, the Debtors have entered into numerous contracts or
          agreements, some of which may be oral. While the Debtors have made every effort to
          reflect the current agreements, to the extent such contracts or agreements constitute
          executory contracts, certain of these contracts and agreements may not be listed
          individually on Schedule G.




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III.      Notes to Statements of Financial Affairs

1.        Statements, Part 1, Questions 1 and 2 – Income and Non-business Revenue. Revenue
          for 2024 has been provided through June 23, 2024, on a prorated basis when indicated
          below.

2.        Statements, Part 13, Question 26 – Books, Records, and Financial Statements. The
          Debtors provided financial statements in the ordinary course of business to certain parties
          for business, statutory, credit, financing and other reasons. Recipients include, among
          others, regulatory agencies, financial institutions, investment banks, equity holders,
          debtholders and their legal and financial advisors. Financial statements have also been
          provided to other parties as requested, subject to customary non-disclosure requirements
          where applicable. In the event such financial statements are provided, the Debtors do not
          maintain complete lists or other records tracking such disclosures. Therefore, the Debtors
          have not provided full lists of these parties in their response to Statement Question 26d.

3.        Statements, Part 13, Question 28 – Controlling Interest Holders. For purposes of the
          Schedules and Statements, the Debtors define "controlling interest holders" to include
          entities that directly hold in excess of 20% of the voting interests of the applicable Debtor
          entity.

4.        Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals Credited
          or Given to Insiders. Certain directors and executive officers of Debtor Solar Biotech,
          Inc. are also directors and executive officers of Debtor Noblegen Inc. To the extent
          payments to such individuals are not listed in the response to Questions 3 and 4 on the
          Statements for such Debtor entities, they did not receive payment for their services as
          directors or executive officers of these entities.

          In the circumstance where the Schedules and Statements require information regarding
          "insiders," the Debtors have included information with respect to certain individuals who
          the Debtors believe may be included in the definition of "insider" set forth in section
          101(31) of the Bankruptcy Code during the relevant time periods. As detailed herein, the
          listing of a party as an insider for purposes of the Schedules and Statements is not intended
          to be, nor should it be, construed as an admission of any fact, right, claim, or defense, and
          all such rights, claims, and defenses are hereby expressly reserved. Information regarding
          the individuals listed as insiders in the Schedules and Statements has been included for
          informational purposes only and such information may not be used for (1) the purposes of
          determining (i) control of the Debtors, (ii) the extent to which any individual exercised
          management responsibilities or functions or corporate decision-making authority over the
          Debtors, or (iii) whether such individual could successfully argue that he or she is not an
          insider under applicable law, including the Bankruptcy Code and federal securities laws,
          or with respect to any theories of liability or (2) any other purpose.

                                                *****




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  Fill in this information to identify the case:

 Debtor        Noblegen Inc.


 United States Bankruptcy Court for the:                   District of Delaware


 Case number             24-11403
  (if known)
                                                                                                                                                                                  ¨ Check if this is an
                                                                                                                                                                                     amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                            12/15




  Part 1:        Summary of Assets




 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)


     1a.       Real property:
                                                                                                                                                                                  NOT APPLICABLE
               Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .



     1b.       Total personal property:
                                                                                                                                                                                    $11,056,165.57
               Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .



     1c.       Total of all property:
                                                                                                                                                                                    $11,056,165.57
               Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:         Summary of Liabilities




   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                    $10,000,000.00
        Copy the total dollar amount listed in Column A , Amount of claim, from line 3 of Schedule D . . . . . . . . .




   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a.      Total claim amounts of priority unsecured claims:
                                                                                                                                                                                             $0.00
                 Copy the total claims from Part 1 from line 5a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .



        3b.      Total amount of claims of nonpriority amount of unsecured claims:
                 Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                     +                $1,426,112.79




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                                     $11,426,112.79
        Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                           Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        Noblegen Inc.


 United States Bankruptcy Court for the:       District of Delaware


 Case number           24-11403
  (if known)
                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                      amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                                     12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:         CASH AND CASH EQUIVALENTS

 1.     DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
        ¨ No. Go to Part 2.
        þ Yes. Fill in the information below.


                                                                                                                                                   Current value of
           All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                                   debtor’s interest

 2.     CASH ON HAND

        NONE


 3.     CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
        (IDENTIFY ALL)
        Name of institution (bank or brokerage firm)                             Type of account                 Last 4 digits of account number

        3.1.         ROYAL BANK OF CANADA                                        CHECKING                        3150                                              $2,316.04

        3.2.         ROYAL BANK OF CANADA                                        SAVINGS                         9133                                                  $41.65

        3.3.         ROYAL BANK OF CANADA                                        UNKNOWN                         1640                                                  $67.13

 4.     OTHER CASH EQUIVALENTS

        NONE


 5      Total of Part 1.
        ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                                                               $2,424.82
        TOTAL TO LINE 80.

 Part 2:         DEPOSITS AND PREPAYMENTS

 6.     DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
        þ No. Go to Part 3.
        ¨ Yes. Fill in the information below.


                                                                                                                                                   Current value of
                                                                                                                                                   debtor’s interest

 7.     DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS




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                                                                                                                                 Current value of
                                                                                                                                 debtor’s interest

 7.    DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
       DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT


 8.    PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
       INSURANCE, TAXES, AND RENT
       DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT


 9     Total of Part 2.
       ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                NOT APPLICABLE


 Part 3:      ACCOUNTS RECEIVABLE

 10.   DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
       þ No. Go to Part 4.
       ¨ Yes. Fill in the information below.


                                                                                                                                 Current value of
                                                                                                                                 debtor’s interest

 11.   ACCOUNTS RECEIVABLE


 12    Total of Part 3.
       CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                           NOT APPLICABLE


 Part 4:      INVESTMENTS

 13.   DOES THE DEBTOR OWN ANY INVESTMENTS?
       þ No. Go to Part 5.
       ¨ Yes. Fill in the information below.


                                                                                                      Valuation method used      Current value of
                                                                                                      for current value          debtor’s interest

 14.   MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
       NAME OF FUND OR STOCK:


 15.   NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
       UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
       OR JOINT VENTURE


 16.   GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
       NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
       DESCRIBE:


 17    Total of Part 4.
       ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                              NOT APPLICABLE


 Part 5:      INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18.   DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
       þ No. Go to Part 6.
       ¨ Yes. Fill in the information below.


                                                    Date of the last        Net book value of         Valuation method used      Current value of
           General description
                                                    physical inventory      debtor's interest         for current value          debtor’s interest
                                                                            (Where available)

 19.   RAW MATERIALS



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                                                              Date of the last          Net book value of        Valuation method used         Current value of
           General description
                                                              physical inventory        debtor's interest        for current value             debtor’s interest
                                                                                        (Where available)

 20.   WORK IN PROGRESS


 21.   FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE


 22.   OTHER INVENTORY OR SUPPLIES


 23    Total of Part 5.
       ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                                               NOT APPLICABLE

 24.   Is any of the property listed in Part 5 perishable?
       þ No
       ¨ Yes

 25.   Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes        Book value                         Valuation method                                                                  Current value

 26.   Has any of the property listed in Part 5 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 6:      FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27.   DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
       LAND)?
       þ No. Go to Part 7.
       ¨ Yes. Fill in the information below.

                                                                                        Net book value of        Valuation method used         Current value of
           General description
                                                                                        debtor's interest        for current value             debtor’s interest
                                                                                        (Where available)

 28.   CROPS—EITHER PLANTED OR HARVESTED


 29.   FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH EXAMPLES:
       LIVESTOCK, POULTRY, FARM-RAISED FISH


 30.   FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
       THAN TITLED MOTOR VEHICLES)


 31.   FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED


 32.   OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6


 33    Total of Part 6.
       ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                                               NOT APPLICABLE

 34.   Is the debtor a member of an agricultural cooperative?
       þ No
       ¨ Yes. Is any of the debtor’s property stored at the cooperative ?
             ¨ No
             ¨ Yes

 35.   Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes

 36.   Is a depreciation schedule available for any of the property listed in Part 6?
       þ No
       ¨ Yes

 37.   Has any of the property listed in Part 6 been appraised by a professional within the last year?
       þ No
       ¨ Yes




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 Part 7:       OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38.   DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
       þ No. Go to Part 8.
       ¨ Yes. Fill in the information below.


                                                                                        Net book value of       Valuation method used      Current value of
           General description
                                                                                        debtor's interest       for current value          debtor’s interest
                                                                                        (Where available)

 39.   OFFICE FURNITURE


 40.   OFFICE FIXTURES


 41.   OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
       SYSTEMS EQUIPMENT AND SOFTWARE


 42.   COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR OTHER
       ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND CRYSTAL; STAMP,
       COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS, MEMORABILIA, OR
       COLLECTIBLES


 43    Total of Part 7.
       ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                                        NOT APPLICABLE


 44.   Is a depreciation schedule available for any of the property listed in Part 7?
       þ No
       ¨ Yes

 45.   Has any of the property listed in Part 7 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 8:       MACHINERY, EQUIPMENT, AND VEHICLES

 46.   DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
       ¨ No. Go to Part 9.
       þ Yes. Fill in the information below.


           General description                                                          Net book value of       Valuation method used      Current value of
           Include year, make, model, and identification numbers (i.e., VIN,            debtor's interest       for current value          debtor’s interest
           HIN, or N-number)                                                            (Where available)


 47.   AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
       VEHICLES

       NONE


 48.   WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
       TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
       VESSELS

       NONE


 49.   AIRCRAFT AND ACCESSORIES

       NONE


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.1.        3602S600D13E2 MODEL TANK CLEANER                                               UNKNOWN REPLACEMENT COST                              $12,400.00

       50.2.       1 FD-R50 CLAMP-ON DIGITAL FLOW METER                                            UNKNOWN REPLACEMENT COST                              $12,800.00

       50.3.       1 NEPA21 ELECTRONIC KINETIC + CUVETTE ADAPTOR                                   UNKNOWN REPLACEMENT COST                              $19,317.91
                   + STAND




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          Include year, make, model, and identification numbers (i.e., VIN,          debtor's interest         for current value          debtor’s interest
          HIN, or N-number)                                                          (Where available)


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.4.       1 NEPA21 ELECTRONIC KINETIC + CUVETTE ADAPTOR                                UNKNOWN REPLACEMENT COST                                $19,317.91
                   + STAND

       50.5.       1 NOVASINA LABSTART PORTABLE WATER ACTIVITY                                  UNKNOWN REPLACEMENT COST                                  $3,726.00
                   METER

       50.6.       1 V039.ZXCON-CON1 BOSTWIK CONSISTOMETER STD                                  UNKNOWN REPLACEMENT COST                                      $744.67
                   VERSION

       50.7.       1 18 CUFT FRIDGE/FREEZER - PLAB                                              UNKNOWN REPLACEMENT COST                                  $1,490.00

       50.8.       1 BIOPROCESS ANALYSER                                                        UNKNOWN REPLACEMENT COST                               $141,281.81

       50.9.       1 EACH 09 528 128 MIDIGEL WIDE SYSTEM 23X14LCM                               UNKNOWN REPLACEMENT COST                                      $867.00

       50.10.      1 EACH 09 528 178 MINIGEL SYSTEM 9X11CM                                      UNKNOWN REPLACEMENT COST                                      $521.00

       50.11.      1 EACH -86 C ULTRA LOW FREEZER                                               UNKNOWN REPLACEMENT COST                                  $4,500.00

       50.12.      1 EACH FBEC300XL POWER SUPPLY 400MA 300V                                     UNKNOWN REPLACEMENT COST                                      $621.00

       50.13.      1" ITT ROTARY LOBE PUMP MODEL LU420                                          UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.14.      1,500L STAINLESS STEEL VESSEL TNK                                            UNKNOWN REPLACEMENT COST                                $20,000.00

       50.15.      1,500L STAINLESS STEEL VESSEL TNK                                            UNKNOWN REPLACEMENT COST                                $20,000.00

       50.16.      10 549 166 MUFFLE FURNACE 1123CUIN 208V                                      UNKNOWN REPLACEMENT COST                                  $4,243.84

       50.17.      100L BIO REACTOR/CONTROL                                                     UNKNOWN REPLACEMENT COST                                $55,000.00

       50.18.      100L GP GRAVITY OVEN                                                         UNKNOWN REPLACEMENT COST                                  $5,098.30

       50.19.      100L MEDIUM VESSEL TANK                                                      UNKNOWN REPLACEMENT COST                                  $3,600.00

       50.20.      100L MEDIUM VESSEL TANK                                                      UNKNOWN REPLACEMENT COST                                  $3,600.00

       50.21.      100L MEDIUM VESSEL TANK                                                      UNKNOWN REPLACEMENT COST                                  $3,600.00

       50.22.      100L MEDIUM VESSEL TANK                                                      UNKNOWN REPLACEMENT COST                                  $3,600.00

       50.23.      100L MEDIUM VESSEL TANK                                                      UNKNOWN REPLACEMENT COST                                  $3,600.00

       50.24.      100L MEDIUM VESSEL TANK                                                      UNKNOWN REPLACEMENT COST                                  $2,400.00

       50.25.      10L MEDIUM VESSEL TANK                                                       UNKNOWN REPLACEMENT COST                                  $2,400.00

       50.26.      10L MEDIUM VESSEL TANK                                                       UNKNOWN REPLACEMENT COST                                  $2,400.00

       50.27.      112-395-02 MOISTURE BALANCE                                                  UNKNOWN REPLACEMENT COST                                  $1,805.30

       50.28.      12361050 PLATINUM SUPERIF II DNA POL 500 RXN                                 UNKNOWN REPLACEMENT COST                                      $981.40

       50.29.      123-7033UI DB-WAX ULTRA INERT 30M, 0.32MM, 0.50UM                            UNKNOWN REPLACEMENT COST                                      $818.00

       50.30.      14559018PM BAL ENTRIS 2241-1S                                                UNKNOWN REPLACEMENT COST                                  $1,944.25

       50.31.      16.6 CUFT FRIDGE 10008216987                                                 UNKNOWN REPLACEMENT COST                                  $1,590.00

       50.32.      20,000L STAINLESS STEEL BIOREACTOR 4100                                      UNKNOWN REPLACEMENT COST                               $125,000.00

       50.33.      20,000L STAINLESS STEEL BIOREACTOR 4200                                      UNKNOWN REPLACEMENT COST                               $125,000.00

       50.34.      20,000L STAINLESS STEEL BIOREACTOR 4300                                      UNKNOWN REPLACEMENT COST                               $125,000.00

       50.35.      20,000L STAINLESS STEEL BIOREACTOR 4400                                      UNKNOWN REPLACEMENT COST                               $125,000.00

       50.36.      20,000L STAINLESS STEEL BIOREACTOR 4500                                      UNKNOWN REPLACEMENT COST                               $125,000.00

       50.37.      20,000L STAINLESS STEEL BIOREACTOR 4600                                      UNKNOWN REPLACEMENT COST                               $125,000.00

       50.38.      20,000L STAINLESS STEEL BIOREACTOR 4700                                      UNKNOWN REPLACEMENT COST                               $125,000.00

       50.39.      20,000L STAINLESS STEEL BIOREACTOR 4900                                      UNKNOWN REPLACEMENT COST                               $125,000.00

       50.40.      20,000L STANILESS STEEL BIOREACTOR 4800                                      UNKNOWN REPLACEMENT COST                               $125,000.00

       50.41.      250L BIO REACTOR/CONTROL                                                     UNKNOWN REPLACEMENT COST                                $75,000.00

       50.42.      250L BIO REACTOR/CONTROL                                                     UNKNOWN REPLACEMENT COST                                $65,000.00




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          HIN, or N-number)                                                          (Where available)


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.43.    25L MEDIA CANISTER                                                             UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.44.    25L MEDIA CANISTER                                                             UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.45.    25L MEDIUM VESSEL TANK                                                         UNKNOWN REPLACEMENT COST                                  $2,400.00

       50.46.    3,000 GAL STAINLESS STEEL SALT TANK W/ASSEMBLY -                               UNKNOWN REPLACEMENT COST                                $60,000.00
                 SALT TANK

       50.47.    31795A19 BOSCH ELECTRIC HAMMER DRILL                                           UNKNOWN REPLACEMENT COST                                  $1,140.46

       50.48.    31795A19 BOSCH ELECTRIC ROTARY HAMMER DRILL                                    UNKNOWN REPLACEMENT COST                                  $1,140.50

       50.49.    32,000L STAINLESS STEEL TANK W/ASSEMBLY                                        UNKNOWN REPLACEMENT COST                                $40,000.00

       50.50.    32,000L STAINLESS STEEL TANK W/ASSEMBLY                                        UNKNOWN REPLACEMENT COST                                $40,000.00

       50.51.    324-463-06 PH METER                                                            UNKNOWN REPLACEMENT COST                                      $999.99

       50.52.    324-463-06 PH METER                                                            UNKNOWN REPLACEMENT COST                                      $999.99

       50.53.    3500L DCI REACTOR                                                              UNKNOWN REPLACEMENT COST                                $67,150.00

       50.54.    40,000L STAINLESS STEEL TANK W/ASSEMBLY                                        UNKNOWN REPLACEMENT COST                                $75,000.00

       50.55.    40,000L STAINLESS STEEL TANK W/ASSEMBLY                                        UNKNOWN REPLACEMENT COST                                $75,000.00

       50.56.    40,000L STAINLESS STEEL TANK W/ASSEMBLY                                        UNKNOWN REPLACEMENT COST                                $75,000.00

       50.57.    400 HEAD VALVE BANK ASSEMBLY                                                   UNKNOWN REPLACEMENT COST                                $20,000.00

       50.58.    400 TAIL VALVE BANK ASSEMBLY                                                   UNKNOWN REPLACEMENT COST                                $20,000.00

       50.59.    46 INCH 8 DRAWER TOOL CABINET                                                  UNKNOWN REPLACEMENT COST                                  $1,298.00

       50.60.    46 INCH 8 DRAWER TOOL CABINET                                                  UNKNOWN REPLACEMENT COST                                  $1,298.00

       50.61.    500L BIO REACTOR/CONTROL                                                       UNKNOWN REPLACEMENT COST                                $75,000.00

       50.62.    500L BIO REACTOR/CONTROL                                                       UNKNOWN REPLACEMENT COST                                $75,000.00

       50.63.    500L BIOREACTOR                                                                UNKNOWN REPLACEMENT COST                                $85,000.00

       50.64.    51028063H HERATHERM 75L GP INCUBATOR                                           UNKNOWN REPLACEMENT COST                                  $2,345.54

       50.65.    51028872HPM 100L GP GRAVITY OVEN                                               UNKNOWN REPLACEMENT COST                                  $1,671.00

       50.66.    6,000L TK360 STAINLESS STEEL TANK W/ASSEMBLY                                   UNKNOWN REPLACEMENT COST                                $60,000.00

       50.67.    730537AH20L1PE STERILE AMAZON SANITARY 73                                      UNKNOWN REPLACEMENT COST                                $14,400.00
                 SERIES FILTER HOUSING

       50.68.    7500L STAINLESS STEEL MIX TANK W/ASSEMBLY                                      UNKNOWN REPLACEMENT COST                                $60,000.00

       50.69.    750G STAINLESS STEEL CIP TANK                                                  UNKNOWN REPLACEMENT COST                                $14,000.00

       50.70.    -86C FREEZER FORMA SCIENTIFIC                                                  UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.71.    A44240 CL 1500 IMAGING SYSTEM                                                  UNKNOWN REPLACEMENT COST                                $23,500.00

       50.72.    ACROSS INTERNATIONAL PQ-N04 100ML PLANETARY                                    UNKNOWN REPLACEMENT COST                                  $9,481.20
                 BALL MILL

       50.73.    ADOLF KUHNER SHAKER                                                            UNKNOWN REPLACEMENT COST                                $12,000.00

       50.74.    ADVANTAGE COOLING WATER SYSTEM                                                 UNKNOWN REPLACEMENT COST                               $125,000.00

       50.75.    AIR FLITER - DESICCANT                                                         UNKNOWN REPLACEMENT COST                                  $1,000.00

       50.76.    AIR RECEIVER 500 GAL PRESSURE VESSEL                                           UNKNOWN REPLACEMENT COST                                $10,000.00

       50.77.    AIRCLEAN 600 PRC WORKS                                                         UNKNOWN REPLACEMENT COST                                  $3,600.00

       50.78.    ALFA LAVAL CENTRIFUGE                                                          UNKNOWN REPLACEMENT COST                               $437,000.00

       50.79.    ALLEN BRADLEY CELLTROL #2                                                      UNKNOWN REPLACEMENT COST                                $30,000.00

       50.80.    ALLEN BRADLEY CELLTROL #2                                                      UNKNOWN REPLACEMENT COST                                $30,000.00

       50.81.    ALLEN BRADLEY CELLTROL #2                                                      UNKNOWN REPLACEMENT COST                                $30,000.00




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 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.82.    ALLEN BRADLEY CELLTROL #2                                                      UNKNOWN REPLACEMENT COST                                $30,000.00

       50.83.    AMANA DEEP FREEZER                                                             UNKNOWN REPLACEMENT COST                                  $1,525.50

       50.84.    AMPCO CENTRIFUGAL PUMP                                                         UNKNOWN REPLACEMENT COST                                  $5,000.00

       50.85.    ANALYZER                                                                       UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.86.    ANALYZER                                                                       UNKNOWN REPLACEMENT COST                                      $250.00

       50.87.    APV-1000 LAB HOMOGENIZER                                                       UNKNOWN REPLACEMENT COST                                $58,695.00

       50.88.    APV-1000 LAB HOMOGENIZER                                                       UNKNOWN REPLACEMENT COST                                $42,800.00

       50.89.    ARCTIC KING FREEZER - FR1004                                                   UNKNOWN REPLACEMENT COST                                      $750.00

       50.90.    AVERY SCALE TM303                                                              UNKNOWN REPLACEMENT COST                                  $7,647.84

       50.91.    BAG FILTER HOUSING                                                             UNKNOWN REPLACEMENT COST                                      $500.00

       50.92.    BAL ENTRIS2241-1S BALANCE FOR NEW LAB                                          UNKNOWN REPLACEMENT COST                                  $2,202.65

       50.93.    BASKET CENTRIFUGE                                                              UNKNOWN REPLACEMENT COST                                      $700.00

       50.94.    BCS AUTOMATION ELECTRICAL PANEL                                                UNKNOWN REPLACEMENT COST                               $276,000.00

       50.95.    BCS AUTOMATION ELECTRICAL PANEL                                                UNKNOWN REPLACEMENT COST                               $276,000.00

       50.96.    BCS AUTOMATION ELECTRICAL PANEL                                                UNKNOWN REPLACEMENT COST                               $276,000.00

       50.97.    BECKMAN DU530 SPECTROPHOTOMETER                                                UNKNOWN REPLACEMENT COST                                  $2,000.00

       50.98.    BELLCO ACTUATOR                                                                UNKNOWN REPLACEMENT COST                                  $2,400.00

       50.99.    BELLCO ACTUATOR                                                                UNKNOWN REPLACEMENT COST                                  $2,400.00

       50.100. BELLCO ACTUATOR                                                                  UNKNOWN REPLACEMENT COST                                  $2,400.00

       50.101. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.102. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.103. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.104. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.105. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.106. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.107. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.108. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.109. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.110. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.111. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.112. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.113. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.114. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.115. BELLCO DIGITAL DISPLAY OVERHEAD DRIVE                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.116. BELLCO OVERHEAD DRIVE                                                            UNKNOWN REPLACEMENT COST                                  $3,215.52

       50.117. BESTEQUIP DIGITAL ROTARY VISCOMETER VISCOSITY                                    UNKNOWN REPLACEMENT COST                                      $685.38

       50.118. BIO REACTOR 15L 2 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $1,800.00

       50.119. BIO REACTOR 15L 2 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $1,800.00

       50.120. BIO REACTOR 15L 2 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $1,800.00

       50.121. BIO REACTOR 15L 2 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $1,800.00

       50.122. BIO REACTOR 15L 2 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $1,800.00




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             (Name)



          General description                                                        Net book value of         Valuation method used      Current value of
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          HIN, or N-number)                                                          (Where available)


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.123. BIO REACTOR 15L 2 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $1,800.00

       50.124. BIO REACTOR 15L 2 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $1,800.00

       50.125. BIO REACTOR 15L 2 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $1,800.00

       50.126. BIO REACTOR 15L 3 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $1,800.00

       50.127. BIO REACTOR 1L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $600.00

       50.128. BIO REACTOR 1L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $600.00

       50.129. BIO REACTOR 1L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $600.00

       50.130. BIO REACTOR 1L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $600.00

       50.131. BIO REACTOR 36L 6 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $3,000.00

       50.132. BIO REACTOR 36L 6 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $3,000.00

       50.133. BIO REACTOR 36L 6 SIDE PORTS                                                     UNKNOWN REPLACEMENT COST                                  $3,000.00

       50.134. BIO REACTOR 3L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $978.00

       50.135. BIO REACTOR 3L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $978.00

       50.136. BIO REACTOR 3L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $978.00

       50.137. BIO REACTOR 3L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $978.00

       50.138. BIO REACTOR 3L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $978.00

       50.139. BIO REACTOR 3L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $978.00

       50.140. BIO REACTOR 3L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                      $978.00

       50.141. BIO REACTOR 3L 4 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,140.00

       50.142. BIO REACTOR 3L 6 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,140.00

       50.143. BIO REACTOR 3L 6 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,140.00

       50.144. BIO REACTOR 3L 6 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,140.00

       50.145. BIO REACTOR 3L 6 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,140.00

       50.146. BIO REACTOR 3L 6 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,140.00

       50.147. BIO REACTOR 3L 6 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,140.00

       50.148. BIO REACTOR 6L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,170.00

       50.149. BIO REACTOR 6L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,170.00

       50.150. BIO REACTOR 6L 4 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.151. BIO REACTOR 6L 6 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.152. BIO REACTOR 6L 6 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.153. BIO REACTOR 8L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,242.00

       50.154. BIO REACTOR 8L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,242.00

       50.155. BIO REACTOR 8L 2 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,242.00

       50.156. BIO REACTOR 8L 4 SIDE PORTS                                                      UNKNOWN REPLACEMENT COST                                  $1,242.00

       50.157. BIO WELDER / TUBE HOLDER / BLADES                                                UNKNOWN REPLACEMENT COST                                $47,162.60

       50.158. BIOLOGICAL SAFETY CABINET                                                        UNKNOWN REPLACEMENT COST                                $10,200.00

       50.159. BIOSTAT CULTIBAG RM200 BIOREACTOR                                                UNKNOWN REPLACEMENT COST                               $350,000.00

       50.160. BIOSTAT CULTIBAG RM50 BIOREACTOR                                                 UNKNOWN REPLACEMENT COST                                $60,000.00

       50.161. BLUEINONE FERM                                                                   UNKNOWN REPLACEMENT COST                                $18,303.14

       50.162. BLUESENS GAS ANALYZER                                                            UNKNOWN REPLACEMENT COST                                $15,000.00

       50.163. BLUESENS GAS ANALYZER                                                            UNKNOWN REPLACEMENT COST                                $15,000.00




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 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.164. BLUESENS GAS ANALYZER                                                            UNKNOWN REPLACEMENT COST                                $15,000.00

       50.165. BRANSON 1510 ULTRA SONIC CLEANER                                                 UNKNOWN REPLACEMENT COST                                      $835.93

       50.166. BREDDO MODEL 100LDT LIKWIFIER 300L                                               UNKNOWN REPLACEMENT COST                                $85,000.00

       50.167. BRUKER MPA NIR                                                                   UNKNOWN REPLACEMENT COST                                $10,142.00

       50.168. BRUKER MPA NIR                                                                   UNKNOWN REPLACEMENT COST                                $10,142.00

       50.169. BRUMIX TANK ASSEMBLY                                                             UNKNOWN REPLACEMENT COST                                $40,000.00

       50.170. BUCHI ROTAVAPOR R-205                                                            UNKNOWN REPLACEMENT COST                                  $4,985.00

       50.171. BWTXT-XW-Y-NA MAX GAS ALERT DETECTOR                                             UNKNOWN REPLACEMENT COST                                  $2,210.32

       50.172. CALIBRATION KIT FOR BIOWELDER                                                    UNKNOWN REPLACEMENT COST                                  $2,772.00

       50.173. CARRIER SEA CAN FREEZER 20 FT.                                                   UNKNOWN REPLACEMENT COST                                $17,500.00

       50.174. CEDEX HT BIOANALYZER                                                             UNKNOWN REPLACEMENT COST                               $141,284.81

       50.175. CENTRIFUGAL 20HP CHILL WATER BOOSTER PUMP                                        UNKNOWN REPLACEMENT COST                                  $2,400.00

       50.176. CENTRIFUGAL POSITIVE DISPLACEMENT PUMP                                           UNKNOWN REPLACEMENT COST                                $10,000.00

       50.177. CENTRIFUGAL PUMP                                                                 UNKNOWN REPLACEMENT COST                                $20,000.00

       50.178. CENTRIFUGAL PUMP                                                                 UNKNOWN REPLACEMENT COST                                $20,000.00

       50.179. CHAINFALL CM SERIES 622 2T                                                       UNKNOWN REPLACEMENT COST                                  $1,643.14

       50.180. CHEMYX INCSDYRINGE PUMP                                                          UNKNOWN REPLACEMENT COST                                  $2,816.00

       50.181. CIP HEAT EXCHANGER                                                               UNKNOWN REPLACEMENT COST                                $10,000.00

       50.182. CODEX (TELESIS) DNA PRINTER                                                      UNKNOWN REPLACEMENT COST                               $155,000.00

       50.183. COLORFLEX EZ SPECTROPHOTOMETER                                                   UNKNOWN REPLACEMENT COST                                $15,991.80

       50.184. COMPRESSOR                                                                       UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.185. COMPRESSOR INGERSOLL RAND NIRVANA R55N 75HP                                      UNKNOWN REPLACEMENT COST                                $85,598.00

       50.186. CONFERENCE TABLE                                                                 UNKNOWN REPLACEMENT COST                                  $1,898.38

       50.187. CORNING HOT PLATE                                                                UNKNOWN REPLACEMENT COST                                      $480.00

       50.188. COUNTESSII CELL COUNTER                                                          UNKNOWN REPLACEMENT COST                                  $5,000.00

       50.189. D8RE2VFIIK INJECTOR (DOSATRON)                                                   UNKNOWN REPLACEMENT COST                                  $3,184.00

       50.190. D8RE5AFII INJECTOR                                                               UNKNOWN REPLACEMENT COST                                  $3,184.00

       50.191. DIGITAL WEIGHT INDIATOR MODEL # 480 PART # 130338                                UNKNOWN REPLACEMENT COST                                  $2,790.00

       50.192. DRUM CART                                                                        UNKNOWN REPLACEMENT COST                                      $824.00

       50.193. DV AIR COMPRESSOR                                                                UNKNOWN REPLACEMENT COST                                  $1,000.00

       50.194. DYNO-MILL KD 280A                                                                UNKNOWN REPLACEMENT COST                               $415,000.00

       50.195. EATON 5 WITH GEAR UNIT & COMPONENTS                                              UNKNOWN REPLACEMENT COST                                $10,000.00

       50.196. EATON CHANNEL BOARD FUSE PANEL                                                   UNKNOWN REPLACEMENT COST                                $10,000.00

       50.197. EATON MAIN SWITCH UNIT & ASSEMBLY                                                UNKNOWN REPLACEMENT COST                                $10,000.00

       50.198. EATON PANEL BOARD & ASSEMBLY                                                     UNKNOWN REPLACEMENT COST                                $10,000.00

       50.199. EATON SWITCH GEAR ASSEMBLY                                                       UNKNOWN REPLACEMENT COST                                $10,000.00

       50.200. EATON SWITCH UNIT & ASSEMBLY                                                     UNKNOWN REPLACEMENT COST                                $10,000.00

       50.201. EATON TRANSFER SWITCH                                                            UNKNOWN REPLACEMENT COST                                $10,000.00

       50.202. EDGE GARD B10 CABINET                                                            UNKNOWN REPLACEMENT COST                                $50,000.00

       50.203. EPPENDORF CENTRIFUGE                                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.204. EVAPORATIVE COOLER 48"                                                           UNKNOWN REPLACEMENT COST                                $10,706.00




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 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.205. EVODES CENTRIFUGE - MARTEK ISOTOPES LLC DEC.                                     UNKNOWN REPLACEMENT COST                                $26,758.12
               2018

       50.206. EVOS FL BASE MICROSCOPE SYSTEM                                                   UNKNOWN REPLACEMENT COST                               $120,000.00

       50.207. EVOS XL CORE BASE MICROSCOPE                                                     UNKNOWN REPLACEMENT COST                                 $11,000.00

       50.208. EXODOS CENTRIFUGE                                                                UNKNOWN REPLACEMENT COST                                $12,000.00

       50.209. FAN EXHAUST/FRESH AIR FOR CONFINED SPACE                                         UNKNOWN REPLACEMENT COST                                  $2,688.96
               ENTRY

       50.210. FILL TRAK STERILE FILTER HOUSING                                                 UNKNOWN REPLACEMENT COST                                $10,000.00

       50.211. FILL-TREK WATER FILTER                                                           UNKNOWN REPLACEMENT COST                                  $1,000.00

       50.212. FILL-TREK WATER FILTER                                                           UNKNOWN REPLACEMENT COST                                  $1,000.00

       50.213. FISHER BIOTECH ELECTROPHORESIS                                                   UNKNOWN REPLACEMENT COST                                      $264.12

       50.214. FISHER SCIENTIFIC ISOTEMP 205 WATERBATH                                          UNKNOWN REPLACEMENT COST                                  $1,930.51

       50.215. FISHER SCIENTIFIC ISOTEMP 205 WATERBATH                                          UNKNOWN REPLACEMENT COST                                  $1,930.41

       50.216. FISHER SCIENTIFIC SPEED VORTEX MIXER                                             UNKNOWN REPLACEMENT COST                                      $642.50

       50.217. FLAMMABLE VERTICAL 2 DRUM STORAGE CABNET                                         UNKNOWN REPLACEMENT COST                                      $600.00

       50.218. FOAMING CANON PUMP CART (VITON PUMP)                                             UNKNOWN REPLACEMENT COST                                      $400.00

       50.219. FOOTWEAR SANITIZING W/BRUSH                                                      UNKNOWN REPLACEMENT COST                                  $8,827.46

       50.220. FORMA SCIENTIFIC BIOLOGICAL SAFETY CABINET                                       UNKNOWN REPLACEMENT COST                                $18,000.00

       50.221. FREEZER - FR1005                                                                 UNKNOWN REPLACEMENT COST                                  $1,000.00

       50.222. FRIDGE, A300 - FR1002                                                            UNKNOWN REPLACEMENT COST                                  $2,500.00

       50.223. FRIDGE, A400                                                                     UNKNOWN REPLACEMENT COST                                  $1,500.00

       50.224. FRIGIDAIR FRIDGE                                                                 UNKNOWN REPLACEMENT COST                                  $1,067.85

       50.225. FRIGIDAIRE 24.8 CU FT CHEST FREEZER                                              UNKNOWN REPLACEMENT COST                                  $1,988.00

       50.226. FRIGIDAIRE 24.8 CU FT CHEST FREEZER - FR1003                                     UNKNOWN REPLACEMENT COST                                  $1,988.00

       50.227. FRIGIDARE FREEZER                                                                UNKNOWN REPLACEMENT COST                                  $1,067.75

       50.228. FRIGIDARE FRIDGE/FREEZER                                                         UNKNOWN REPLACEMENT COST                                  $1,794.00

       50.229. FRISTAM CENTRIFUGAL PUMP 5HP                                                     UNKNOWN REPLACEMENT COST                                  $3,200.00

       50.230. FULTON STEAM BOILER                                                              UNKNOWN REPLACEMENT COST                               $114,000.00

       50.231. G7860AA GPC/SEC SOFTWARE                                                         UNKNOWN REPLACEMENT COST                                  $3,234.60

       50.232. GARDNER-DENVER BACK AIR COMPRESSOR                                               UNKNOWN REPLACEMENT COST                                $17,000.00

       50.233. GAS CHROMATOGRAPH W FLAME IONISATION                                             UNKNOWN REPLACEMENT COST                                $37,243.60
               DETECTOR(7890B)

       50.234. GENERAC INDUSTRIAL GENERATOR                                                     UNKNOWN REPLACEMENT COST                                $80,000.00

       50.235. GENEVAC EZ2 EVAPORATOR                                                           UNKNOWN REPLACEMENT COST                                  $4,800.00

       50.236. GRANT PTR-60 ROTATOR                                                             UNKNOWN REPLACEMENT COST                                  $3,009.60

       50.237. H-7011 GAS CYLINDER LOCKER                                                       UNKNOWN REPLACEMENT COST                                  $1,460.00

       50.238. HANDTMAN CLEANING AIR VALVE                                                      UNKNOWN REPLACEMENT COST                                 $11,394.22

       50.239. HANDTMAN CLEANING AIR VALVE                                                      UNKNOWN REPLACEMENT COST                                 $11,394.22

       50.240. HANDTMAN CLEANING AIR VALVE                                                      UNKNOWN REPLACEMENT COST                                 $11,394.22

       50.241. HANDTMAN CLEANING AIR VALVE                                                      UNKNOWN REPLACEMENT COST                                 $11,394.22

       50.242. HANDTMAN CLEANING AIR VALVE                                                      UNKNOWN REPLACEMENT COST                                 $11,394.22

       50.243. HANDTMAN CLEANING AIR VALVE                                                      UNKNOWN REPLACEMENT COST                                 $11,394.22




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 Debtor      Noblegen Inc.       Case 24-11402-LSS                      Doc 129        Filed Case
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 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.244. HEAT EXCHANGER                                                                   UNKNOWN REPLACEMENT COST                                $30,000.00

       50.245. HEAT EXCHANGER                                                                   UNKNOWN REPLACEMENT COST                                $10,000.00

       50.246. HOLDING TANK (40KL)                                                              UNKNOWN REPLACEMENT COST                                $75,000.00

       50.247. HOLDING TANK (40KL)                                                              UNKNOWN REPLACEMENT COST                                $75,000.00

       50.248. HOLDING TANK (40KL)                                                              UNKNOWN REPLACEMENT COST                                $75,000.00

       50.249. HOLDING TANK (40KL)                                                              UNKNOWN REPLACEMENT COST                                $75,000.00

       50.250. HPLC AMINO ACID ANALYZER                                                         UNKNOWN REPLACEMENT COST                                $75,242.71

       50.251. HPS 600V TRANSFORMER                                                             UNKNOWN REPLACEMENT COST                                $10,000.00

       50.252. HPS 600V TRANSFORMER                                                             UNKNOWN REPLACEMENT COST                                      $400.00

       50.253. IBIND                                                                            UNKNOWN REPLACEMENT COST                                  $1,774.00

       50.254. IBLOT                                                                            UNKNOWN REPLACEMENT COST                                  $5,805.00

       50.255. IKA MIXER                                                                        UNKNOWN REPLACEMENT COST                                $30,590.00

       50.256. IMSA10076729 DETECTOR MSA CYANIDE SENSOR                                         UNKNOWN REPLACEMENT COST                                      $862.57

       50.257. IMSA10076729 DETECTOR MSA CYANIDE SENSOR                                         UNKNOWN REPLACEMENT COST                                      $862.57

       50.258. INFORS MULTITRON SHAKER INCUBATOR                                                UNKNOWN REPLACEMENT COST                                  $2,916.00

       50.259. INGERSOLL RAND AIR DRYER/COMPRESSOR                                              UNKNOWN REPLACEMENT COST                                $10,000.00

       50.260. INLINE STEAM CLEANER 35195K44                                                    UNKNOWN REPLACEMENT COST                                  $2,333.70

       50.261. INNOVA -4320 REFRIGATED INCUBATOR SHAKER                                         UNKNOWN REPLACEMENT COST                                  $7,200.00

       50.262. INNOVA -4320 REFRIGATED INCUBATOR SHAKER                                         UNKNOWN REPLACEMENT COST                                  $7,200.00

       50.263. INVITROGEN ELECTROPHORESIS                                                       UNKNOWN REPLACEMENT COST                                      $206.00

       50.264. ISOTEMP210 FISHER SCIENTIFIC                                                     UNKNOWN REPLACEMENT COST                                      $136.30

       50.265. KARCHER FLOOR SWEEPER                                                            UNKNOWN REPLACEMENT COST                                $95,000.00

       50.266. KARCHER PORTABLE FLOOR SWEEPER                                                   UNKNOWN REPLACEMENT COST                                  $3,916.94

       50.267. KC 118 FC DRILL PRESS                                                            UNKNOWN REPLACEMENT COST                                  $1,450.00

       50.268. KENT SCIENTIFIC SYRINGE PUMP                                                     UNKNOWN REPLACEMENT COST                                  $1,500.00

       50.269. KIT UNDERBENCH INST. GRAVITY OVEN                                                UNKNOWN REPLACEMENT COST                                  $1,595.58

       50.270. KLENZOID WATER SOFTENER SYSTEM                                                   UNKNOWN REPLACEMENT COST                                  $2,000.00

       50.271. L141OT BALDOR 5HP MOTOR                                                          UNKNOWN REPLACEMENT COST                                  $1,120.96

       50.272. LAB (CONSTRUCTION)                                                               UNKNOWN REPLACEMENT COST                               $600,000.00

       50.273. LAB -LINE MAXI STIR                                                              UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.274. LAB RHEOMETER AND ACCESSORIES                                                    UNKNOWN REPLACEMENT COST                                $80,856.00

       50.275. LABCONCO FREEZE DRYER                                                            UNKNOWN REPLACEMENT COST                                $34,500.00

       50.276. LABFORS 5 BIOREACTOR                                                             UNKNOWN REPLACEMENT COST                               $145,300.00

       50.277. LABFORS 5 BIOREACTOR                                                             UNKNOWN REPLACEMENT COST                                $81,492.00

       50.278. LAB-LINE MAXI STIR                                                               UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.279. LABPLANT SPRAY DRYER LFS-03                                                      UNKNOWN REPLACEMENT COST                                  $9,000.00

       50.280. LAUDA-WKL 230 RECIRCULATING CHILLER                                              UNKNOWN REPLACEMENT COST                                  $6,183.91

       50.281. LH-4000 ROTOR FOR RC-4 CENTRIFUGE                                                UNKNOWN REPLACEMENT COST                                  $3,997.78

       50.282. LIFE TECH COUNTESS 11 FL CELL COUNTER                                            UNKNOWN REPLACEMENT COST                                  $6,070.00

       50.283. LIFE TECHNOLOGIES COUNTESS II                                                    UNKNOWN REPLACEMENT COST                                  $6,670.00

       50.284. LIFE TECHNOLOGIES MICROSCOPE                                                     UNKNOWN REPLACEMENT COST                                $32,240.00




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 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
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       50.285. LINDBERG OVEN                                                                    UNKNOWN REPLACEMENT COST                                  $5,000.00

       50.286. LIQUIFIER                                                                        UNKNOWN REPLACEMENT COST                                  $7,000.00

       50.287. MAIN VALVE BANK                                                                  UNKNOWN REPLACEMENT COST                               $160,000.00

       50.288. MASSTEC J BOX / TANK MOUNTS                                                      UNKNOWN REPLACEMENT COST                                $15,812.00

       50.289. MCMASTER CARR 20455T11 DISPENSER KIT CART                                        UNKNOWN REPLACEMENT COST                                  $1,562.60

       50.290. MCR-3000SLPM-RD-M12-FDAFKM-IP66-PAR/CM, CIN,                                     UNKNOWN REPLACEMENT COST                                $13,776.00
               GAS: AIR RD 12' ALICAT MASS FLOW CONTROLLER

       50.291. ME4002E 4200G X 0.01G SCALE                                                      UNKNOWN REPLACEMENT COST                                  $2,503.20

       50.292. MEDIA HANDLING PUMP (PNEUMATIC) GE                                               UNKNOWN REPLACEMENT COST                                  $1,300.00

       50.293. MEDIA PRE-FILTER                                                                 UNKNOWN REPLACEMENT COST                                  $8,500.00

       50.294. METTLER TOLEDO AT261 DELTA RANGE MICRO SCALE                                     UNKNOWN REPLACEMENT COST                                      $600.00

       50.295. METTLER TOLEDO PH METER                                                          UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.296. METTLER TOLEDO PH METER                                                          UNKNOWN REPLACEMENT COST                                  $1,200.00

       50.297. METTLER TOLEDO WEIGH SCALE                                                       UNKNOWN REPLACEMENT COST                                  $3,991.68

       50.298. MILWAUKEE DEEP CUT BANDSAW                                                       UNKNOWN REPLACEMENT COST                                      $759.98

       50.299. MIVAC                                                                            UNKNOWN REPLACEMENT COST                                      $600.00

       50.300. MIX POT 200L                                                                     UNKNOWN REPLACEMENT COST                                      $350.00

       50.301. MOBILE SAFETY BARRIER                                                            UNKNOWN REPLACEMENT COST                                  $1,150.00

       50.302. MOBILE SAFETY BARRIER                                                            UNKNOWN REPLACEMENT COST                                  $1,150.00

       50.303. MOBILE SAFETY BARRIER                                                            UNKNOWN REPLACEMENT COST                                  $1,150.00

       50.304. MODULAR LAB                                                                      UNKNOWN REPLACEMENT COST                               $167,868.74

       50.305. MODULAR OFFICE                                                                   UNKNOWN REPLACEMENT COST                               $200,168.08

       50.306. ND-8000-GL SPECTROPHOTOMETER                                                     UNKNOWN REPLACEMENT COST                                $20,504.00

       50.307. NEW ERA SYRINGE PUMP                                                             UNKNOWN REPLACEMENT COST                                      $975.00

       50.308. NEWTERRA 463 GAL CHARCOL TANK                                                    UNKNOWN REPLACEMENT COST                                $76,000.00

       50.309. NEWTERRA 463 GAL CHARCOL TANK                                                    UNKNOWN REPLACEMENT COST                                $76,000.00

       50.310. NOVABIOMEDICAL 400 ANALYZER                                                      UNKNOWN REPLACEMENT COST                                      $883.79

       50.311. NOVEX BOLT MINI GEL TANK                                                         UNKNOWN REPLACEMENT COST                                      $546.00

       50.312. NOVEX BOLT MINI GEL TANK                                                         UNKNOWN REPLACEMENT COST                                      $546.00

       50.313. NOVEX BOLT NIMI GEL TANK                                                         UNKNOWN REPLACEMENT COST                                      $546.00

       50.314. NUAIRE BIOLOGICAL SAFETY CABINET                                                 UNKNOWN REPLACEMENT COST                                  $2,584.13

       50.315. NVSI FOAM TRAP/ PRESSURE VESSEL                                                  UNKNOWN REPLACEMENT COST                                  $4,000.00

       50.316. OEMTOOL DRAWER CABINET                                                           UNKNOWN REPLACEMENT COST                                  $1,430.08

       50.317. O-RING HOT BONDING KIT                                                           UNKNOWN REPLACEMENT COST                                  $4,132.22

       50.318. OXYFERM DO PROBE 12X325MM HA                                                     UNKNOWN REPLACEMENT COST                                  $1,746.75

       50.319. PERISTALLTIC PUMP                                                                UNKNOWN REPLACEMENT COST                                  $2,300.00

       50.320. PFIZER PROPAGATION VESSEL                                                        UNKNOWN REPLACEMENT COST                                  $2,500.00

       50.321. PH METER ORION STAR                                                              UNKNOWN REPLACEMENT COST                                  $2,300.00

       50.322. PM25-TA-00 MULTIRON INCUBATOR                                                    UNKNOWN REPLACEMENT COST                                $33,620.00

       50.323. POLY BOX TRUCK                                                                   UNKNOWN REPLACEMENT COST                                  $1,048.64

       50.324. POSITIVE DISPLACEMENT PUMP                                                       UNKNOWN REPLACEMENT COST                                $10,000.00

       50.325. POSITIVE DISPLACEMENT PUMP                                                       UNKNOWN REPLACEMENT COST                                $10,000.00


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          General description                                                        Net book value of         Valuation method used      Current value of
          Include year, make, model, and identification numbers (i.e., VIN,          debtor's interest         for current value          debtor’s interest
          HIN, or N-number)                                                          (Where available)


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.326. POSITIVE DISPLACEMENT PUMP                                                       UNKNOWN REPLACEMENT COST                                $10,000.00

       50.327. POWEATERMPW+712 EBP1604 PW9130L3000T-XL BAT                                      UNKNOWN REPLACEMENT COST                                  $1,130.00
               REPLACEMENT

       50.328. POWEATERMPW+712 EBP1604 PW9130L3000T-XL BAT                                      UNKNOWN REPLACEMENT COST                                  $1,130.00
               REPLACEMENT

       50.329. POWER METER PANEL                                                                UNKNOWN REPLACEMENT COST                                $10,000.00

       50.330. PRESSURE WASHER                                                                  UNKNOWN REPLACEMENT COST                                  $1,000.00

       50.331. PT430 SA1100 LEAD WATER TESTING KIT                                              UNKNOWN REPLACEMENT COST                                  $4,996.00

       50.332. QUANTSTUDIO 3 QRTPCR SYSTEM                                                      UNKNOWN REPLACEMENT COST                                $36,000.00

       50.333. R550 ACCENDER/DECENDER DBI-SALA 50 FEET                                          UNKNOWN REPLACEMENT COST                                  $3,482.76

       50.334. RET 014620216 50ML GRINDING JAR SS                                               UNKNOWN REPLACEMENT COST                                  $2,171.00

       50.335. RET 014620216 50ML GRINDING JAR SS                                               UNKNOWN REPLACEMENT COST                                  $2,171.00

       50.336. RETSCH MM400 MIXER MILL                                                          UNKNOWN REPLACEMENT COST                                $14,041.41

       50.337. RICE LAKE PLATFORM SCALE                                                         UNKNOWN REPLACEMENT COST                                $14,120.00

       50.338. RICE LAKE PLATFORM SCALE                                                         UNKNOWN REPLACEMENT COST                                $14,120.00

       50.339. RICE LAKE PLATFORM SCALE                                                         UNKNOWN REPLACEMENT COST                                $14,120.00

       50.340. RIDGID 200 PSI 4.5 GAL COMPRESSOR                                                UNKNOWN REPLACEMENT COST                                      $700.00

       50.341. RK-07067 COMPRESSOR                                                              UNKNOWN REPLACEMENT COST                                  $1,676.87

       50.342. ROCKER PLATFORM                                                                  UNKNOWN REPLACEMENT COST                                      $348.67

       50.343. ROTARY LOBE PUMP JABSCO                                                          UNKNOWN REPLACEMENT COST                                 $11,000.00

       50.344. S06240 SPECTRONIC 200E EDU SPEC                                                  UNKNOWN REPLACEMENT COST                                  $1,924.48

       50.345. SAFETY SHOWER EYE WASH STATION                                                   UNKNOWN REPLACEMENT COST                                  $1,706.00

       50.346. SALT SKID W/HOPPER                                                               UNKNOWN REPLACEMENT COST                                $80,000.00

       50.347. SANI MATIC CIP SKID                                                              UNKNOWN REPLACEMENT COST                                $40,000.00

       50.348. SANPLA DRY KEEPER                                                                UNKNOWN REPLACEMENT COST                                  $1,278.00

       50.349. SARTORIOUS SCALES                                                                UNKNOWN REPLACEMENT COST                                      $400.00

       50.350. SARTORIUS MOISTURE BALANCE                                                       UNKNOWN REPLACEMENT COST                                      $600.00

       50.351. SATORIOUS STEDIM BIO WELDER                                                      UNKNOWN REPLACEMENT COST                                $30,000.00

       50.352. SATORIOUS STEDIM BIO WELDER                                                      UNKNOWN REPLACEMENT COST                                  $1,100.00

       50.353. SATORIUS DIGITAL WEIGH SCALE                                                     UNKNOWN REPLACEMENT COST                                      $153.95

       50.354. SATORIUS EA15DCE-I WEIGH SCALE                                                   UNKNOWN REPLACEMENT COST                                  $2,044.94

       50.355. SCILOGES MAGNETIC STIR/HOT PLATE                                                 UNKNOWN REPLACEMENT COST                                  $1,571.33

       50.356. SCILOGEX MUILTIPOSITION STIR PLATE                                               UNKNOWN REPLACEMENT COST                                  $1,571.33

       50.357. SCILOGEX MULTI POSITION STIR PLATE                                               UNKNOWN REPLACEMENT COST                                  $1,571.33

       50.358. SCILOGEX MULTIPOSITION STIR PLATE                                                UNKNOWN REPLACEMENT COST                                  $1,571.33

       50.359. SCILOGEX MX-S VORTEX MIXER                                                       UNKNOWN REPLACEMENT COST                                      $250.00

       50.360. SCILOGEX SK 0180-E                                                               UNKNOWN REPLACEMENT COST                                      $657.36

       50.361. SCILOGEX SK-D3309 PRO SHAKER                                                     UNKNOWN REPLACEMENT COST                                  $1,486.85

       50.362. SEBRA OMNI SEALER                                                                UNKNOWN REPLACEMENT COST                                      $240.00

       50.363. SEILER WESTLAB II MICROSCOPE                                                     UNKNOWN REPLACEMENT COST                                  $1,014.89

       50.364. SEILER WESTLABII MICROSCOPE                                                      UNKNOWN REPLACEMENT COST                                  $1,014.89

       50.365. SIEMENS SHEER PUMP MIXER                                                         UNKNOWN REPLACEMENT COST                                  $2,500.00



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          General description                                                        Net book value of         Valuation method used      Current value of
          Include year, make, model, and identification numbers (i.e., VIN,          debtor's interest         for current value          debtor’s interest
          HIN, or N-number)                                                          (Where available)


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.366. SINGLE-CHANNEL PIPETTES RESEARCH PACKAGE 1                                       UNKNOWN REPLACEMENT COST                                  $2,395.00
               VWR MPCA2231000224

       50.367. SINGLE-CHANNEL PIPETTES RESEARCH PACKAGE 2                                       UNKNOWN REPLACEMENT COST                                  $2,395.00
               VWR MPCA2231000222

       50.368. SINTERED POROUS METAL SPARGER OD 0.71"                                           UNKNOWN REPLACEMENT COST                                  $3,035.50

       50.369. SINTERED POROUS METAL SPARGER OD 0.75 ( #2 END                                   UNKNOWN REPLACEMENT COST                                  $3,035.50
               )

       50.370. SINTERED PROOUS METAL SPARGER OD 0.75" (#1                                       UNKNOWN REPLACEMENT COST                                  $3,035.50
               TOP)

       50.371. SIPIRAX/SARCO VALVE ATUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.372. SKYFOOD LAR-25LMB FLOOR FOOD BLENDER W/                                          UNKNOWN REPLACEMENT COST                                  $1,664.00
               METAL CONTAINER

       50.373. SL SHELL LAB INCUBATOR                                                           UNKNOWN REPLACEMENT COST                                  $1,600.00

       50.374. SORVALL LEGEND XF 120V FL VENT CENTRIFUGE                                        UNKNOWN REPLACEMENT COST                                  $7,687.16

       50.375. SORVALL RC 6+ CENTRIUFUGE                                                        UNKNOWN REPLACEMENT COST                                $30,000.00

       50.376. SORVALL RC-4 CENTRIFUGE                                                          UNKNOWN REPLACEMENT COST                                $14,500.00

       50.377. SP88857100P CIMAREC 7X7 HPS 100-120V PK3                                         UNKNOWN REPLACEMENT COST                                  $1,475.80

       50.378. SPECTRAMAX M3 SPECTROPHOTOMETER                                                  UNKNOWN REPLACEMENT COST                                $12,000.00

       50.379. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.380. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.381. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.382. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.383. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.384. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.385. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.386. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.387. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.388. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.389. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.390. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.391. SPIRAX/SARCO VALVE ACTUATOR ASSEMBLY                                             UNKNOWN REPLACEMENT COST                                  $6,000.00

       50.392. SPRAY DRYER                                                                      UNKNOWN REPLACEMENT COST                               $250,000.00

       50.393. SPRAY DRYER CHAMBER                                                              UNKNOWN REPLACEMENT COST                                  $2,486.00

       50.394. SS KNOCKOUT CANISTER                                                             UNKNOWN REPLACEMENT COST                                      $900.00

       50.395. STAINLESS STEEL UTILI                                                            UNKNOWN REPLACEMENT COST                                      $600.00

       50.396. STAINLESS STEEL UTILITY CART                                                     UNKNOWN REPLACEMENT COST                                      $827.18

       50.397. STAINLESS STEEL UTILITY CART                                                     UNKNOWN REPLACEMENT COST                                      $600.00

       50.398. STAINLESS STEEL UTILITY CART JAMCO                                               UNKNOWN REPLACEMENT COST                                      $827.18

       50.399. STAINLESS STEEL UTILITY CART JAMCO                                               UNKNOWN REPLACEMENT COST                                      $827.18

       50.400. STAINLESS STEEL WASH BASIN                                                       UNKNOWN REPLACEMENT COST                                  $1,000.00

       50.401. STAINLESS STEEL WASH BASIN                                                       UNKNOWN REPLACEMENT COST                                  $1,000.00

       50.402. STAINLESS STEEL WIRE SHELVING                                                    UNKNOWN REPLACEMENT COST                                  $1,274.00

       50.403. STERILE AIR FILTER                                                               UNKNOWN REPLACEMENT COST                                  $1,000.00




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          General description                                                        Net book value of         Valuation method used      Current value of
          Include year, make, model, and identification numbers (i.e., VIN,          debtor's interest         for current value          debtor’s interest
          HIN, or N-number)                                                          (Where available)


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.404. STERIS MILLENNIUM 20 STERILIZER ( AUTOCLAVE )                                    UNKNOWN REPLACEMENT COST                                $54,000.00

       50.405. SUPER-NUOVA STIR PLATE                                                           UNKNOWN REPLACEMENT COST                                      $300.00

       50.406. SWINNEX 47MM FILTER HOLDER                                                       UNKNOWN REPLACEMENT COST                                  $1,066.00

       50.407. TF MAXQ3000 SHAKER                                                               UNKNOWN REPLACEMENT COST                                  $3,000.00

       50.408. TF MAXQ3000 SHAKER                                                               UNKNOWN REPLACEMENT COST                                  $3,000.00

       50.409. THERMO FISHER CENTRIFUGE                                                         UNKNOWN REPLACEMENT COST                                $13,898.02

       50.410. THERMO SCIENTIFIC CENTRIFUGE                                                     UNKNOWN REPLACEMENT COST                                $13,898.02

       50.411. THERMO SCIENTIFIC INCUBATOR                                                      UNKNOWN REPLACEMENT COST                                  $1,980.00

       50.412. THERMO SCIENTIFIC LENGEND MICRO 21 CENTRIFUGE                                    UNKNOWN REPLACEMENT COST                                  $3,884.47

       50.413. THERMO SCIENTIFIC PH METER                                                       UNKNOWN REPLACEMENT COST                                  $1,488.00

       50.414. THERMO SCIENTIFIC SHAKER                                                         UNKNOWN REPLACEMENT COST                                $17,705.95

       50.415. THERMO SCIENTIFIC SMART2PURE 3 UF CAT NO.                                        UNKNOWN REPLACEMENT COST                                  $3,325.00
               89230-332

       50.416. THERMO SCIENTIFIC SORVAL LENGEND XF                                              UNKNOWN REPLACEMENT COST                                  $2,500.00

       50.417. THERMO SCIENTIFIC SPECTRONIC 200                                                 UNKNOWN REPLACEMENT COST                                  $4,500.00

       50.418. THERMO SCIENTIFIC STIR PLATE                                                     UNKNOWN REPLACEMENT COST                                  $1,219.68

       50.419. THERMO SORVALL RC12BP CENTRIFUGE                                                 UNKNOWN REPLACEMENT COST                                $50,099.36

       50.420. THERMOLYNE BIGGER BILL SHAKER                                                    UNKNOWN REPLACEMENT COST                                  $3,489.00

       50.421. THERMOLYNE BIGGER BILL SHAKER                                                    UNKNOWN REPLACEMENT COST                                  $1,735.75

       50.422. THERMOLYNE BIGGER BILL SHAKER                                                    UNKNOWN REPLACEMENT COST                                  $1,325.00

       50.423. TR-600-ECK RESPIRATOR KIT                                                        UNKNOWN REPLACEMENT COST                                  $3,743.50

       50.424. TURBO AIR 2000 AIR COMPRESSOR                                                    UNKNOWN REPLACEMENT COST                                $10,000.00

       50.425. UBIQUITI US-24-250W UNIFI SWITCH-24 PORTS                                        UNKNOWN REPLACEMENT COST                                  $1,061.50

       50.426. UNIBLOC PUMP POSITIVE DISPLACEMENT                                               UNKNOWN REPLACEMENT COST                                  $4,000.00

       50.427. UV WATER FILTER (MECO) 260 GPM                                                   UNKNOWN REPLACEMENT COST                                      $600.00

       50.428. VALVE BANK ASSEMBLY -4100                                                        UNKNOWN REPLACEMENT COST                                $80,000.00

       50.429. VALVE BANK ASSEMBLY 4200                                                         UNKNOWN REPLACEMENT COST                                $80,000.00

       50.430. VALVE BANK ASSEMBLY 4300                                                         UNKNOWN REPLACEMENT COST                                $80,000.00

       50.431. VALVE BANK ASSEMBLY 4400                                                         UNKNOWN REPLACEMENT COST                                $80,000.00

       50.432. VALVE BANK ASSEMBLY 4500                                                         UNKNOWN REPLACEMENT COST                                $80,000.00

       50.433. VALVE BANK ASSEMBLY 4600                                                         UNKNOWN REPLACEMENT COST                                $80,000.00

       50.434. VALVE BANK ASSEMBLY 4700                                                         UNKNOWN REPLACEMENT COST                                $80,000.00

       50.435. VALVE BANK ASSEMBLY 4800                                                         UNKNOWN REPLACEMENT COST                                $80,000.00

       50.436. VALVE BANK ASSEMBLY 4900                                                         UNKNOWN REPLACEMENT COST                                $80,000.00

       50.437. VERDEXFLEX PERISTALTIC PUMP                                                      UNKNOWN REPLACEMENT COST                                $10,000.00

       50.438. VERDEXFLEX PERISTALTIC PUMP                                                      UNKNOWN REPLACEMENT COST                                $10,000.00

       50.439. VERITIPRO THERMAL CYCLER                                                         UNKNOWN REPLACEMENT COST                                $15,000.00

       50.440. VESLMS-EBT46-4 BOOM TELESCOPING SHORTY 4K                                        UNKNOWN REPLACEMENT COST                                  $2,330.32

       50.441. VRA-C SINGLE MIXER SEAL WITH SANITARY GLAND                                      UNKNOWN REPLACEMENT COST                                $16,456.00

       50.442. VWR DIGITAL SHAKER MODEL 3500                                                    UNKNOWN REPLACEMENT COST                                  $2,000.00

       50.443. VWR INCUBATOR CO2 SHEL LAB                                                       UNKNOWN REPLACEMENT COST                                $10,009.49

       50.444. VWR INCUBATOR CO2 SHEL LAB                                                       UNKNOWN REPLACEMENT COST                                  $9,003.83


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           General description                                                          Net book value of       Valuation method used      Current value of
           Include year, make, model, and identification numbers (i.e., VIN,            debtor's interest       for current value          debtor’s interest
           HIN, or N-number)                                                            (Where available)


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)

       50.445. VWR SCIENTIFIC MICROSCOPE                                                           UNKNOWN REPLACEMENT COST                                $1,014.89

       50.446. WATER COOLER - CK4000                                                               UNKNOWN REPLACEMENT COST                              $45,000.00

       50.447. WATER HEATER CONTROL                                                                UNKNOWN REPLACEMENT COST                                $1,200.00

       50.448. WATSON MARLOW 120 U PUMP                                                            UNKNOWN REPLACEMENT COST                                $4,246.00

       50.449. WATSON MARLOW 120 U PUMP                                                            UNKNOWN REPLACEMENT COST                                $4,246.00

       50.450. WATSON MARLOW 120 U PUMP                                                            UNKNOWN REPLACEMENT COST                                $4,246.00

       50.451. WATSON MARLOW 323 PUMP                                                              UNKNOWN REPLACEMENT COST                                $2,816.00

       50.452. WATSON MARLOW 323 PUMP                                                              UNKNOWN REPLACEMENT COST                                $2,816.00

       50.453. WATSON MARLOW 323 PUMP                                                              UNKNOWN REPLACEMENT COST                                $2,816.00

       50.454. WATSON MARLOW 323 PUMP                                                              UNKNOWN REPLACEMENT COST                                $2,816.00

       50.455. WATSON MARLOW PERISTALIC PUMP 630U                                                  UNKNOWN REPLACEMENT COST                              $10,000.00

       50.456. WATSON MARLOW PERISTALTIC PUMP 520U                                                 UNKNOWN REPLACEMENT COST                              $10,000.00

       50.457. WATSON MARLOW PERISTALTIC PUMP 620U                                                 UNKNOWN REPLACEMENT COST                              $10,000.00

       50.458. WATSON MARLOW PERISTALTIC PUMP 720S                                                 UNKNOWN REPLACEMENT COST                              $10,000.00

       50.459. WEG 400 BOOSTER PUMP                                                                UNKNOWN REPLACEMENT COST                                $1,000.00

       50.460. WEG BOOSTER PUMP                                                                    UNKNOWN REPLACEMENT COST                                    $500.00

       50.461. WHEATON MICROSTIR                                                                   UNKNOWN REPLACEMENT COST                                $2,191.69

       50.462. WHEATON UNISPENCE PRO PUMP                                                          UNKNOWN REPLACEMENT COST                                $3,563.20

       50.463. WHISPERFUGE CENTRIFUGE                                                              UNKNOWN REPLACEMENT COST                                    $675.00

       50.464. WORK BENCH                                                                          UNKNOWN REPLACEMENT COST                                    $719.18

       50.465. WORK PLATFORM FOR LIFT TRUCK DAYTON                                                 UNKNOWN REPLACEMENT COST                                $4,861.90

       50.466. YS1 2700SELECT BIO ANALYZER                                                         UNKNOWN REPLACEMENT COST                                $7,045.00

       50.467. YS1 7100MBS BIO ANALYZER                                                            UNKNOWN REPLACEMENT COST                                    $780.00

       50.468. YSI-2950D-3 2950 ANALYZER WITH TWO BIOSENSOR                                        UNKNOWN REPLACEMENT COST                              $43,458.25

       50.469. ZANDUCO 56000-009 24X24X14 ONE TUB SINK                                             UNKNOWN REPLACEMENT COST                                    $485.00

       50.470. ZANDUCO TUB SINK AND FAUCET                                                         UNKNOWN REPLACEMENT COST                                $1,115.02

       50.471. ZANDUCO 56000-034 18X18X11 ONE TUB SINK                                             UNKNOWN REPLACEMENT COST                                    $325.00

 51    Total of Part 8.
       ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                                           $10,981,456.99


 52.   Is a depreciation schedule available for any of the property listed in Part 8?
       ¨ No
       þ Yes

 53.   Has any of the property listed in Part 8 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 9:      REAL PROPERTY

 54.   DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
       þ No. Go to Part 10.
       ¨ Yes. Fill in the information below.

 55.   ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST




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 55.   ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


                                                           Nature and extent            Net book value of       Valuation method used      Current value of
          Description and location of property
          Include street address or other description      of debtor’s                  debtor's interest       for current value          debtor’s interest
          such as Assessor Parcel Number (APN), and        interest in                  (Where available)
          type of property (for example, acreage,          property
          factory, warehouse, apartment or office
          building), if available



 56    Total of Part 9.
       ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                                      NOT APPLICABLE
       ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57.   Is a depreciation schedule available for any of the property listed in Part 9?
       þ No
       ¨ Yes

 58.   Has any of the property listed in Part 9 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 10:      INTANGIBLES AND INTELLECTUAL PROPERTY

 59.   DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
       ¨ No. Go to Part 11.
       þ Yes. Fill in the information below.


                                                                                        Net book value of       Valuation method used      Current value of
          General description
                                                                                        debtor's interest       for current value          debtor’s interest
                                                                                        (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.1.       PATENT - APPLICATIONS OF MICROALGAE BIOMASS,                                                 N/A                                      UNKNOWN
                   BETA-GLUCAN ISOLATE, AND ITS DERIVATIVES IN
                   FOOD - PROPOSED - UNITED STATES

       60.2.       PATENT - COMPOSITIONS, PREPARATION AND USES                                                  N/A                                      UNKNOWN
                   OF PARAMYLON - ABANDONED - BARBADOS

       60.3.       PATENT - COMPOSITIONS, PREPARATION AND USES                                                  N/A                                      UNKNOWN
                   OF PARAMYLON - SERIAL NO.: N/A BRAZIL

       60.4.       PATENT - METHODS OF PROTEIN EXTRACTION AND                                                   N/A                                      UNKNOWN
                   DOWNSTREAM PROCESSING IN EUGLENA - NOT FILED
                   - UNITED STATES

       60.5.       PATENT - OPTIMIZED EUGLENA FERMENTATION USING                                                N/A                                      UNKNOWN
                   ENGINEERED TANK DESIGN - NOT FILED - UNITED
                   STATES

       60.6.       PATENT - SERIAL NO.: 11 2021 026578 3 BRAZIL                                                 N/A                                      UNKNOWN

       60.7.       PATENT - SERIAL NO.: 11 2021 026579 1 BRAZIL                                                 N/A                                      UNKNOWN

       60.8.       PATENT - SERIAL NO.: 1120190210792 BRAZIL                                                    N/A                                      UNKNOWN

       60.9.       PATENT - SERIAL NO.: 1-2021-552053 PHILIPPINES                                               N/A                                      UNKNOWN

       60.10.      PATENT - SERIAL NO.: 16/326,541 UNITED STATES                                                N/A                                      UNKNOWN

       60.11.      PATENT - SERIAL NO.: 16/603,361 UNITED STATES                                                N/A                                      UNKNOWN

       60.12.      PATENT - SERIAL NO.: 17/017,894 UNITED STATES                                                N/A                                      UNKNOWN

       60.13.      PATENT - SERIAL NO.: 17/253,183 UNITED STATES                                                N/A                                      UNKNOWN

       60.14.      PATENT - SERIAL NO.: 17/340,972 UNITED STATES                                                N/A                                      UNKNOWN

       60.15.      PATENT - SERIAL NO.: 17/435,317 UNITED STATES                                                N/A                                      UNKNOWN

       60.16.      PATENT - SERIAL NO.: 17/618,936 UNITED STATES                                                N/A                                      UNKNOWN

       60.17.      PATENT - SERIAL NO.: 17/618,938 UNITED STATES                                                N/A                                      UNKNOWN

       60.18.      PATENT - SERIAL NO.: 17/783,990 UNITED STATES                                                N/A                                      UNKNOWN

       60.19.      PATENT - SERIAL NO.: 17840680.7 EUROPE                                                       N/A                                      UNKNOWN

       60.20.      PATENT - SERIAL NO.: 18/2/000110 JAMAICA                                                     N/A                                      UNKNOWN



Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                             Page 17 of 22
 Debtor      Noblegen Inc.      Case 24-11402-LSS               Doc 129        Filed Case
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             (Name)



                                                                             Net book value of         Valuation method used      Current value of
          General description
                                                                             debtor's interest         for current value          debtor’s interest
                                                                             (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.21.    PATENT - SERIAL NO.: 18780942.1 EUROPE                                                N/A                                      UNKNOWN

       60.22.    PATENT - SERIAL NO.: 19827522.4 EUROPE                                                N/A                                      UNKNOWN

       60.23.    PATENT - SERIAL NO.: 201917006713 INDIA                                               N/A                                      UNKNOWN

       60.24.    PATENT - SERIAL NO.: 201917040768 INDIA                                               N/A                                      UNKNOWN

       60.25.    PATENT - SERIAL NO.: 2019-530524 JAPAN                                                N/A                                      UNKNOWN

       60.26.    PATENT - SERIAL NO.: 2019554746 JAPAN                                                 N/A                                      UNKNOWN

       60.27.    PATENT - SERIAL NO.: 2020231101 AUSTRALIA                                             N/A                                      UNKNOWN

       60.28.    PATENT - SERIAL NO.: 202080032843.3 CHINA                                             N/A                                      UNKNOWN

       60.29.    PATENT - SERIAL NO.: 202080060479.1 CHINA                                             N/A                                      UNKNOWN

       60.30.    PATENT - SERIAL NO.: 202080060486.1 CHINA                                             N/A                                      UNKNOWN

       60.31.    PATENT - SERIAL NO.: 2021/05884 SOUTH AFRICA                                          N/A                                      UNKNOWN

       60.32.    PATENT - SERIAL NO.: 2021004674 MALAYSIA                                              N/A                                      UNKNOWN

       60.33.    PATENT - SERIAL NO.: 202127039597 INDIA                                               N/A                                      UNKNOWN

       60.34.    PATENT - SERIAL NO.: 2021-523107 JAPAN                                                N/A                                      UNKNOWN

       60.35.    PATENT - SERIAL NO.: 2021-551765 JAPAN                                                N/A                                      UNKNOWN

       60.36.    PATENT - SERIAL NO.: 2021-577239 JAPAN                                                N/A                                      UNKNOWN

       60.37.    PATENT - SERIAL NO.: 2021-577242 JAPAN                                                N/A                                      UNKNOWN

       60.38.    PATENT - SERIAL NO.: 20766547.2 EUROPE                                                N/A                                      UNKNOWN

       60.39.    PATENT - SERIAL NO.: 20831056.5 EUROPE                                                N/A                                      UNKNOWN

       60.40.    PATENT - SERIAL NO.: 20832845.0 EUROPE                                                N/A                                      UNKNOWN

       60.41.    PATENT - SERIAL NO.: 20897823.9 EUROPE                                                N/A                                      UNKNOWN

       60.42.    PATENT - SERIAL NO.: 3,034,122 CANADA                                                 N/A                                      UNKNOWN

       60.43.    PATENT - SERIAL NO.: 3,164,116 CANADA                                                 N/A                                      UNKNOWN

       60.44.    PATENT - SERIAL NO.: 3059271 CANADA                                                   N/A                                      UNKNOWN

       60.45.    PATENT - SERIAL NO.: 3104600 CANADA                                                   N/A                                      UNKNOWN

       60.46.    PATENT - SERIAL NO.: 3132477 CANADA                                                   N/A                                      UNKNOWN

       60.47.    PATENT - SERIAL NO.: 3143895 CANADA                                                   N/A                                      UNKNOWN

       60.48.    PATENT - SERIAL NO.: 3143901 CANADA                                                   N/A                                      UNKNOWN

       60.49.    PATENT - SERIAL NO.: 62/377,323 UNITED STATES                                         N/A                                      UNKNOWN

       60.50.    PATENT - SERIAL NO.: 62/482,952 UNITED STATES                                         N/A                                      UNKNOWN

       60.51.    PATENT - SERIAL NO.: 62/513,018 UNITED STATES                                         N/A                                      UNKNOWN

       60.52.    PATENT - SERIAL NO.: 62/692,528 UNITED STATES                                         N/A                                      UNKNOWN

       60.53.    PATENT - SERIAL NO.: 62/812,767 UNITED STATES                                         N/A                                      UNKNOWN

       60.54.    PATENT - SERIAL NO.: 62/868,343 UNITED STATES                                         N/A                                      UNKNOWN

       60.55.    PATENT - SERIAL NO.: 62/868,569 UNITED STATES                                         N/A                                      UNKNOWN

       60.56.    PATENT - SERIAL NO.: 62/868,589 UNITED STATES                                         N/A                                      UNKNOWN

       60.57.    PATENT - SERIAL NO.: 62/945,599 UNITED STATES                                         N/A                                      UNKNOWN

       60.58.    PATENT - SERIAL NO.: 62/954,837 UNITED STATES                                         N/A                                      UNKNOWN

       60.59.    PATENT - SERIAL NO.: 63/158,033 UNITED STATES                                         N/A                                      UNKNOWN

       60.60.    PATENT - SERIAL NO.: 63/163,071 UNITED STATES                                         N/A                                      UNKNOWN

       60.61.    PATENT - SERIAL NO.: 63/163,072 UNITED STATES                                         N/A                                      UNKNOWN

       60.62.    PATENT - SERIAL NO.: 63/163,084 UNITED STATES                                         N/A                                      UNKNOWN




Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                          Page 18 of 22
 Debtor      Noblegen Inc.      Case 24-11402-LSS               Doc 129         Filed Case
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                                                                              Net book value of         Valuation method used      Current value of
          General description
                                                                              debtor's interest         for current value          debtor’s interest
                                                                              (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.63.    PATENT - SERIAL NO.: 63/163,477 UNITED STATES                                          N/A                                      UNKNOWN

       60.64.    PATENT - SERIAL NO.: 63/226,869 UNITED STATES                                          N/A                                      UNKNOWN

       60.65.    PATENT - SERIAL NO.: 63/235,370 UNITED STATES                                          N/A                                      UNKNOWN

       60.66.    PATENT - SERIAL NO.: 63/323,048 UNITED STATES                                          N/A                                      UNKNOWN

       60.67.    PATENT - SERIAL NO.: 63/358,426 UNITED STATES                                          N/A                                      UNKNOWN

       60.68.    PATENT - SERIAL NO.: 63/371,295 UNITED STATES                                          N/A                                      UNKNOWN

       60.69.    PATENT - SERIAL NO.: 63/404,684 UNITED STATES                                          N/A                                      UNKNOWN

       60.70.    PATENT - SERIAL NO.: BR112021017281 5 BRAZIL                                           N/A                                      UNKNOWN

       60.71.    PATENT - SERIAL NO.: MX/A/2019/001971 MEXICO                                           N/A                                      UNKNOWN

       60.72.    PATENT - SERIAL NO.: MX/A/2019/011999 MEXICO                                           N/A                                      UNKNOWN

       60.73.    PATENT - SERIAL NO.: MX/A/2021/010327 MEXICO                                           N/A                                      UNKNOWN

       60.74.    PATENT - SERIAL NO.: MX/A/2021/016017 MEXICO                                           N/A                                      UNKNOWN

       60.75.    PATENT - SERIAL NO.: MX/A/2021/016018 MEXICO                                           N/A                                      UNKNOWN

       60.76.    PATENT - SERIAL NO.: P2021-0182 DOMINICAN                                              N/A                                      UNKNOWN
                 REPUBLIC

       60.77.    PATENT - SERIAL NO.: PCT/CA2017/050984 WIPO                                            N/A                                      UNKNOWN

       60.78.    PATENT - SERIAL NO.: PCT/CA2018/050431 WIPO                                            N/A                                      UNKNOWN

       60.79.    PATENT - SERIAL NO.: PCT/IB2019/055524 WIPO                                            N/A                                      UNKNOWN

       60.80.    PATENT - SERIAL NO.: PCT/IB2020/051764 WIPO                                            N/A                                      UNKNOWN

       60.81.    PATENT - SERIAL NO.: PCT/IB2020/056135 WIPO                                            N/A                                      UNKNOWN

       60.82.    PATENT - SERIAL NO.: PCT/IB2020/056137 WIPO                                            N/A                                      UNKNOWN

       60.83.    PATENT - SERIAL NO.: PCT/IB2020/061714 WIPO                                            N/A                                      UNKNOWN

       60.84.    PATENT - SERIAL NO.: PCT/IB2022/052064 WIPO                                            N/A                                      UNKNOWN

       60.85.    PATENT - SERIAL NO.: PCT/IB2022/052513 WIPO                                            N/A                                      UNKNOWN

       60.86.    PATENT - SERIAL NO.: TT/A/2021/00085 TRINIDAD &                                        N/A                                      UNKNOWN
                 TOBAGO

       60.87.    TRADEMARK - EUNITE - APP. NO.:018164048                                                N/A                                      UNKNOWN
                 EUROPEAN UNION (COMMUNITY)

       60.88.    TRADEMARK - EUNITE - APP. NO.:2000365 CANADA                                           N/A                                      UNKNOWN

       60.89.    TRADEMARK - EUNITE - APP. NO.:46211987 CHINA                                           N/A                                      UNKNOWN
                 (PEOPLE'S REPUBLIC)

       60.90.    TRADEMARK - EUNITE - APP. NO.:46211988 CHINA                                           N/A                                      UNKNOWN
                 (PEOPLE'S REPUBLIC)

       60.91.    TRADEMARK - EUNITE - APP. NO.:46211989 CHINA                                           N/A                                      UNKNOWN
                 (PEOPLE'S REPUBLIC)

       60.92.    TRADEMARK - EUNITE - APP. NO.:62340272 CHINA                                           N/A                                      UNKNOWN
                 (PEOPLE'S REPUBLIC)

       60.93.    TRADEMARK - EUNITE - APP. NO.:62345983 CHINA                                           N/A                                      UNKNOWN
                 (PEOPLE'S REPUBLIC)

       60.94.    TRADEMARK - EUNITE - APP. NO.:UK00918164048                                            N/A                                      UNKNOWN
                 UNITED KINGDOM

       60.95.    TRADEMARK - EUNITE LOGO - APP. NO.:018164051                                           N/A                                      UNKNOWN
                 EUROPEAN UNION (COMMUNITY)

       60.96.    TRADEMARK - EUNITE LOGO - APP. NO.:2000363                                             N/A                                      UNKNOWN
                 CANADA

       60.97.    TRADEMARK - EUNITE LOGO - APP. NO.:46211992                                            N/A                                      UNKNOWN
                 CHINA (PEOPLE'S REPUBLIC)



Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                                          Page 19 of 22
 Debtor        Noblegen Inc.    Case 24-11402-LSS                     Doc 129           Filed Case
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                                                                                      Net book value of          Valuation method used      Current value of
          General description
                                                                                      debtor's interest          for current value          debtor’s interest
                                                                                      (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.98.      TRADEMARK - EUNITE LOGO - APP. NO.:46211993                                                   N/A                                      UNKNOWN
                   CHINA (PEOPLE'S REPUBLIC)

       60.99.      TRADEMARK - EUNITE LOGO - APP. NO.:46211994                                                   N/A                                      UNKNOWN
                   CHINA (PEOPLE'S REPUBLIC)

       60.100. TRADEMARK - EUNITE LOGO - APP. NO.:62349933                                                       N/A                                      UNKNOWN
               CHINA (PEOPLE'S REPUBLIC)

       60.101. TRADEMARK - EUNITE LOGO - APP. NO.:62353304                                                       N/A                                      UNKNOWN
               CHINA (PEOPLE'S REPUBLIC)

       60.102. TRADEMARK - EUNITE LOGO - APP. NO.:UK00918164051                                                  N/A                                      UNKNOWN
               UNITED KINGDOM

       60.103. TRADEMARK - NOBLEGEN - APP. NO.:018164041                                                         N/A                                      UNKNOWN
               EUROPEAN UNION (COMMUNITY)

       60.104. TRADEMARK - NOBLEGEN - APP. NO.:46211981 CHINA                                                    N/A                                      UNKNOWN
               (PEOPLE'S REPUBLIC)

       60.105. TRADEMARK - NOBLEGEN - APP. NO.:46211982 CHINA                                                    N/A                                      UNKNOWN
               (PEOPLE'S REPUBLIC)

       60.106. TRADEMARK - NOBLEGEN - APP. NO.:UK00918164041                                                     N/A                                      UNKNOWN
               UNITED KINGDOM

       60.107. TRADEMARK - NOBLEGEN LOGO - APP. NO.:018164046                                                    N/A                                      UNKNOWN
               EUROPEAN UNION (COMMUNITY)

       60.108. TRADEMARK - NOBLEGEN LOGO - APP. NO.:2000364                                                      N/A                                      UNKNOWN
               CANADA

       60.109. TRADEMARK - NOBLEGEN LOGO - APP. NO.:2000366                                                      N/A                                      UNKNOWN
               CANADA

       60.110. TRADEMARK - NOBLEGEN LOGO - APP. NO.:46211983                                                     N/A                                      UNKNOWN
               CHINA (PEOPLE'S REPUBLIC)

       60.111. TRADEMARK - NOBLEGEN LOGO - APP. NO.:46211984                                                     N/A                                      UNKNOWN
               CHINA (PEOPLE'S REPUBLIC)

       60.112. TRADEMARK - NOBLEGEN LOGO - APP.                                                                  N/A                                      UNKNOWN
               NO.:UK00918164046 UNITED KINGDOM


 61.   INTERNET DOMAIN NAMES AND WEBSITES

       61.1.       WWW.NOBLEGEN.CA                                                                               N/A                                      UNKNOWN

       61.2.       WWW.NOBLEGEN.COM                                                                              N/A                                      UNKNOWN

 62.   LICENSES, FRANCHISES, AND ROYALTIES


 63.   CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS


 64.   OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY


 65.   GOODWILL


 66    Total of Part 10.
       ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                                          UNDETERMINED


 67.   Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107) ?
       þ No
       ¨ Yes

 68.   Is there an amortization or other similar schedule available for any of the property listed in Part 10?
       þ No
       ¨ Yes




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                              Page 20 of 22
 Debtor        Noblegen Inc.    Case 24-11402-LSS                        Doc 129       Filed Case
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               (Name)



 69.   Has any of the property listed in Part 10 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 11:      ALL OTHER ASSETS

 70.   DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
       INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
       ¨ No. Go to Part 12.
       þ Yes. Fill in the information below.

                                                                                                                                          Current value of
                                                                                                                                          debtor’s interest

 71.   NOTES RECEIVABLE
       DESCRIPTION (INCLUDE NAME OF OBLIGOR)
       NONE


 72.   TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
       DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)

       72.1.       CANADA SR&ED REIMBURSEMENT DUE WEEK OF JULY 8, 2024                                         Tax year                                 $72,283.76

 73.   INTERESTS IN INSURANCE POLICIES OR ANNUITIES

       NONE


 74.   CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
       BEEN FILED)

       NONE


 75.   OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
       NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
       CLAIMS

       NONE


 76.   TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY

       NONE


 77.   OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
       COUNTRY CLUB MEMBERSHIP EXAMPLES: SEASON TICKETS, COUNTRY CLUB
       MEMBERSHIP

       NONE


 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                                              $72,283.76


 79.   Has any of the property listed in Part 11 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 12:      Summary


 In Part 12 copy all of the totals from the earlier parts of the form.



          Type of property                                                         Current value of               Current value of real
                                                                                   personal property              property

 80.   Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                    $2,424.82


 81.   Deposits and prepayments. Copy line 9, Part 2.


 82.   Accounts receivable. Copy line 12, Part 3.




Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                          Page 21 of 22
 Debtor       Noblegen Inc.             Case 24-11402-LSS                                  Doc 129                 Filed Case
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                                                                                                                                                         24-11403

              (Name)



 83.   Investments. Copy line 17, Part 4.


 84.   Inventory. Copy line 23, Part 5.


 85.   Farming and fishing-related assets. Copy line 33, Part 6.


 86.   Office furniture, fixtures, and equipment; and collectibles.
       Copy line 43, Part 7.

 87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $10,981,456.99


 88.   Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è                                  N/A


 89.   Intangibles and intellectual property. Copy line 66, Part 10.                                            UNDETERMINED


 90.   All other assets. Copy line 78, Part 11.                                                                          $72,283.76
                                                                                                     +

 91.   Total. Add lines 80 through 90 for each column . . . . . . . . . 91a.                                        $11,056,165.57     + 91b.                       N/A




 92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $11,056,165.57




Official Form 206A/B                                                      Schedule A/B: Assets - Real and Personal Property                                                 Page 22 of 22
                                    Case 24-11402-LSS                      Doc 129              Filed 07/29/24          Page 33 of 58
  Fill in this information to identify the case:

 Debtor        Noblegen Inc.


 United States Bankruptcy Court for the:      District of Delaware


 Case number           24-11403
  (if known)
                                                                                                                                                     ¨ Check if this is an
                                                                                                                                                        amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

 Be as complete and accurate as possible.

 1.     1.     Do any creditors have claims secured by debtor’s property?
        ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules . Debtor has nothing else to report on this form.
        þ Yes. Fill in all of the information below.

  Part 1:        List All Creditors with Secured Claims

                                                                                                                        Column A                     Column B
 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than
        one secured claim, list the creditor separately for each claim.                                                 Amount of claim              Value of collateral that
                                                                                                                        Do not deduct the value of   supports this claim
                                                                                                                        collateral.

 2.1             Creditor’s name                                        Describe debtor’s property that is                         $10,000,000.00           UNKNOWN
                 INGREDION INCORPORATED                                 subject to a lien
                                                                        LIEN ON INVENTORY, EQUIPMENT,
                 Creditor's mailing address
                                                                        ACCOUNTS, MOTOR VEHICLES AND
                 5 WESTBROOK CORPORATE CENTER                           OTHER ASSETS
                 WESTCHESTER, IL 60154
                                                                        Describe the lien
                 Creditor's email address
                                                                        PPSA
                 Date or dates debt was incurred                        Is the creditor an insider or related
                                                                        party?
                 Last 4 digits of account number:
                                                                        þ No
                 Do multiple creditors have an interest in the          ¨ Yes
                 same property?                                         Is anyone else liable on this claim?
                 þ No                                                   ¨ No
                 ¨ Yes                                                  þ Yes
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                                        $10,000,000.00
          Additional Page, if any.




Official Form 206D                                         Schedule D: Creditors Who Have Claims Secured by Property                                                Page 1 of 2
 Debtor     Noblegen Inc.       Case 24-11402-LSS                      Doc 129           Filed Case
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                                                                                                                              24-11403

            (Name)


  Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are
 collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

   Name and Address                                                                                                         On which line in Part        Last 4 digits of
                                                                                                                            1 did you enter the          account number
                                                                                                                            related creditor?            for ths entity

   INGREDION INC C/O HOGAN LOVELLS LLP                                                                                      Line 2.1
   ATTN: CHRISTOPHER R. BRYANT
   390 MADISON AVENUE
   NEW YORK
   NY, 10017

   INGREDION INC C/O HOGAN LOVELLS LLP                                                                                      Line 2.1
   ATTN: CHRISTOPHER R. DONOHO III
   390 MADISON AVENUE
   NEW YORK
   NY, 10017

   INGREDION INC C/O POTTER ANDERSON & CORROON LLP                                                                          Line 2.1
   ATTN: BLAKE CLEARY
   HERCULES PLAZA, 1313 NORTH MARKET STREET
   6TH FLOOR
   WILMINGTON
   DE, 19801




Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                      Page 2 of 2
                                    Case 24-11402-LSS                    Doc 129              Filed 07/29/24          Page 35 of 58
  Fill in this information to identify the case:

 Debtor        Noblegen Inc.


 United States Bankruptcy Court for the:   District of Delaware


 Case number           24-11403
  (if known)
                                                                                                                                                     ¨ Check if this is an
                                                                                                                                                        amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.



  Part 1:       List All Creditors with PRIORITY Unsecured Claims


 1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        ¨ No. Go to Part 2.
        þ Yes. Go to line 2.

 2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
        3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                               Total claim               Priority amount

 2.1             Priority creditor’s name and mailing address         As of the petition filing date, the claim is:                          $0.00                    $0.00
                                                                      Check all that apply.
                 ABHISHEK UDAWAT
                 ADDRESS REDACTED                                     ¨ Contingent
                                                                      ¨ Unliquidated
                 Date or dates debt was incurred                      ¨ Disputed

                 Last 4 digits of account number:                     Basis for the claim:
                                                                      WAGES - NOTICE ONLY
                                                                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 2.2             Priority creditor’s name and mailing address         As of the petition filing date, the claim is:                          $0.00                    $0.00
                                                                      Check all that apply.
                 ALEX BERLIN
                 ADDRESS REDACTED                                     ¨ Contingent
                                                                      ¨ Unliquidated
                 Date or dates debt was incurred                      ¨ Disputed

                 Last 4 digits of account number:                     Basis for the claim:
                                                                      WAGES - NOTICE ONLY
                                                                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 2.3             Priority creditor’s name and mailing address         As of the petition filing date, the claim is:                          $0.00                    $0.00
                                                                      Check all that apply.
                 JAMES AUBIN
                 ADDRESS REDACTED                                     ¨ Contingent
                                                                      ¨ Unliquidated
                 Date or dates debt was incurred                      ¨ Disputed

                 Last 4 digits of account number:                     Basis for the claim:
                                                                      WAGES - NOTICE ONLY
                                                                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 1 of 15
 Debtor     Noblegen Inc.     Case 24-11402-LSS                  Doc 129              Filed Case
                                                                                            07/29/24
                                                                                                 number   (if known)   Page   36 of 58
                                                                                                                         24-11403

            (Name)


  Part 1:   Additional Page

                                                                                                                            Total claim           Priority amount

 2.4        Priority creditor’s name and mailing address      As of the petition filing date, the claim is:                               $0.00                $0.00
                                                              Check all that apply.
            KATHLEEN HORLOCK-ROBERTS
            ADDRESS REDACTED                                  ¨ Contingent
                                                              ¨ Unliquidated
            Date or dates debt was incurred                   ¨ Disputed

            Last 4 digits of account number:                  Basis for the claim:
                                                              WAGES - NOTICE ONLY
                                                              Is the claim subject to offset?
                                                              þ No
                                                              ¨ Yes

 2.5        Priority creditor’s name and mailing address      As of the petition filing date, the claim is:                               $0.00                $0.00
                                                              Check all that apply.
            KEVIN RALPH
            ADDRESS REDACTED                                  ¨ Contingent
                                                              ¨ Unliquidated
            Date or dates debt was incurred                   ¨ Disputed

            Last 4 digits of account number:                  Basis for the claim:
                                                              WAGES - NOTICE ONLY
                                                              Is the claim subject to offset?
                                                              þ No
                                                              ¨ Yes

 2.6        Priority creditor’s name and mailing address      As of the petition filing date, the claim is:                               $0.00                $0.00
                                                              Check all that apply.
            LUCAS BERENDSE
            ADDRESS REDACTED                                  ¨ Contingent
                                                              ¨ Unliquidated
            Date or dates debt was incurred                   ¨ Disputed

            Last 4 digits of account number:                  Basis for the claim:
                                                              WAGES - NOTICE ONLY
                                                              Is the claim subject to offset?
                                                              þ No
                                                              ¨ Yes

 2.7        Priority creditor’s name and mailing address      As of the petition filing date, the claim is:                               $0.00                $0.00
                                                              Check all that apply.
            MAHFUZUR SHAH
            ADDRESS REDACTED                                  ¨ Contingent
                                                              ¨ Unliquidated
            Date or dates debt was incurred                   ¨ Disputed

            Last 4 digits of account number:                  Basis for the claim:
                                                              WAGES - NOTICE ONLY
                                                              Is the claim subject to offset?
                                                              þ No
                                                              ¨ Yes

 2.8        Priority creditor’s name and mailing address      As of the petition filing date, the claim is:                               $0.00                $0.00
                                                              Check all that apply.
            MARK ILIOPOULOS
            ADDRESS REDACTED                                  ¨ Contingent
                                                              ¨ Unliquidated
            Date or dates debt was incurred                   ¨ Disputed

            Last 4 digits of account number:                  Basis for the claim:
                                                              WAGES - NOTICE ONLY
                                                              Is the claim subject to offset?
                                                              þ No
                                                              ¨ Yes




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                                                                                                                                   Total claim              Priority amount

 2.9         Priority creditor’s name and mailing address            As of the petition filing date, the claim is:                               $0.00                     $0.00
                                                                     Check all that apply.
             PHILLIP SIAMBI
             ADDRESS REDACTED                                        ¨ Contingent
                                                                     ¨ Unliquidated
             Date or dates debt was incurred                         ¨ Disputed

             Last 4 digits of account number:                        Basis for the claim:
                                                                     WAGES - NOTICE ONLY
                                                                     Is the claim subject to offset?
                                                                     þ No
                                                                     ¨ Yes

 2.10        Priority creditor’s name and mailing address            As of the petition filing date, the claim is:                               $0.00                     $0.00
                                                                     Check all that apply.
             SCOTT FARROW
             ADDRESS REDACTED                                        ¨ Contingent
                                                                     ¨ Unliquidated
             Date or dates debt was incurred                         ¨ Disputed

             Last 4 digits of account number:                        Basis for the claim:
                                                                     WAGES - NOTICE ONLY
                                                                     Is the claim subject to offset?
                                                                     þ No
                                                                     ¨ Yes

 2.11        Priority creditor’s name and mailing address            As of the petition filing date, the claim is:                               $0.00                     $0.00
                                                                     Check all that apply.
             SHAOJUN LI
             ADDRESS REDACTED                                        ¨ Contingent
                                                                     ¨ Unliquidated
             Date or dates debt was incurred                         ¨ Disputed

             Last 4 digits of account number:                        Basis for the claim:
                                                                     WAGES - NOTICE ONLY
                                                                     Is the claim subject to offset?
                                                                     þ No
                                                                     ¨ Yes

 2.12        Priority creditor’s name and mailing address            As of the petition filing date, the claim is:                               $0.00                     $0.00
                                                                     Check all that apply.
             SOHIDUL ISLAM
             ADDRESS REDACTED                                        ¨ Contingent
                                                                     ¨ Unliquidated
             Date or dates debt was incurred                         ¨ Disputed

             Last 4 digits of account number:                        Basis for the claim:
                                                                     WAGES - NOTICE ONLY
                                                                     Is the claim subject to offset?
                                                                     þ No
                                                                     ¨ Yes

  Part 2:    List All Creditors with NONPRIORITY Unsecured Claims



        Do any creditors have nonpriority unsecured claims? (See 11 U.S.C. § 507).
        ¨ No.
        þ Yes.

 3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
        unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                                         Amount of claim




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                                                                                                                                      Amount of claim

 3.1        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $466.61
                                                                            Check all that apply.
            A.R.C. INTEGRATION INC
            P.O. BOX 161                                                    ¨ Contingent
            FOXBORO, ON K0K 2B0                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.2        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                       $133,583.48
                                                                            Check all that apply.
            ALEX BERLIN
            ADDRESS REDACTED                                                ¨ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            LOAN
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.3        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $882.88
                                                                            Check all that apply.
            B & H SOLUTIONS
            15 HERITAGE RD #18                                              ¨ Contingent
            MARKHAM, ON L3P 1M3                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.4        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $22,072.12
                                                                            Check all that apply.
            BDO CANADA LLP
            201 GEORGE STREET N                                             ¨ Contingent
            SUITE 202                                                       ¨ Unliquidated
            P.O. BOX 1018                                                   ¨ Disputed
            PETERBOROUGH, ON K9J 7A5                                        Basis for the claim:
            CANADA                                                          TRADE PAYABLE
            Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.5        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $1,730.54
                                                                            Check all that apply.
            BERESKIN & PARR
            SCOTIA PLAZA                                                    ¨ Contingent
            40 KING ST W, 40TH FL                                           ¨ Unliquidated
            TORONTO, ON M5H 3Y2                                             ¨ Disputed
            CANADA                                                          Basis for the claim:
            Date or dates debt was incurred                                 TRADE PAYABLE
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes




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                                                                                                                                      Amount of claim

 3.6        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $2,425.75
                                                                            Check all that apply.
            BIO-RAD LABORTORATORIES CANADA LTD
            1000 ALFRED NOBEL DR                                            ¨ Contingent
            HERCULES, CA 94547                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.7        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $9,114.66
                                                                            Check all that apply.
            BORDEN LADNER GERVAIS LLP
            BAY ADELAIDE CENTRE, EAST TWR                                   ¨ Contingent
            22 ADELAIDE ST W, STE 3400                                      ¨ Unliquidated
            TORONTO, ON M5H 4E3                                             ¨ Disputed
            CANADA                                                          Basis for the claim:
            Date or dates debt was incurred                                 TRADE PAYABLE
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.8        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $91,653.16
                                                                            Check all that apply.
            BRENDAN BRAZIER
            ADDRESS REDACTED                                                ¨ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.9        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                               $92.71
                                                                            Check all that apply.
            CANTEEN CANADA LTD
            2400 YORKMONT RD                                                ¨ Contingent
            CHARLOTTE, NC 28217                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.10       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                       $323,024.60
                                                                            Check all that apply.
            DLA PIPER
            ONE LIBERTY PLACE, 1650 MARKET ST.                              ¨ Contingent
            SUITE 5000                                                      ¨ Unliquidated
            PHILADELPHIA, PA 19103-7301                                     ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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 3.11       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $5,481.41
                                                                            Check all that apply.
            ELLIS PROPERTIES, LLP
            211 SAINT ANTHONY PKWY, STE 100A                                ¨ Contingent
            MINNEAPOLIS, MN 55418-4675                                      ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.12       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $36,940.94
                                                                            Check all that apply.
            FEDERAL ECONOMIC DEVELOPMENT AGENCY
            101-139 NORTHFIELD DRIVE WEST                                   ¨ Contingent
            WATERLOO, ON N2L 5A6                                            ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            LOAN
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.13       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                               $0.00
                                                                            Check all that apply.
            FIL-TREK CORPORATION
            55 STAFFORD COURT                                               ¨ Contingent
            CAMBRIDGE, ON N1T 1B3                                           ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE - NOTICE ONLY
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.14       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $2,022.65
                                                                            Check all that apply.
            FISHER SCIENTIFIC
            C/O THERMO FISHER SCIENTIFIC                                    ¨ Contingent
            168 THIRD AVE                                                   ¨ Unliquidated
            WALTHAM, MA 02451                                               ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.15       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                       $142,590.27
                                                                            Check all that apply.
            FOOD 4 THOUGHT
            4900 NARCISSUS LANE-N                                           ¨ Contingent
            PLYMOUTH, MN 55446                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                      Amount of claim

 3.16       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $288.79
                                                                            Check all that apply.
            GIC MEDICAL DISPOSAL
            2-243 QUEEN ST W                                                ¨ Contingent
            TORONTO, ON M5V 1Z4                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.17       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                       $130,127.68
                                                                            Check all that apply.
            GWYN MORGAN
            ADDRESS REDACTED                                                ¨ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            PROMISSORY NOTE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.18       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $143.12
                                                                            Check all that apply.
            HOSPITAL FOR SICK CHILDREN
            555 UNIVERSITY AVE                                              ¨ Contingent
            TORONTO, ON M5G 1X8                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.19       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $1,224.43
                                                                            Check all that apply.
            HYDRO ONE
            483 BAY ST (S TWR)                                              ¨ Contingent
            8TH FL RECEPTION                                                ¨ Unliquidated
            TORONTO, ON M5G 2P5                                             ¨ Disputed
            CANADA                                                          Basis for the claim:
            Date or dates debt was incurred                                 TRADE PAYABLE
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.20       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $19,756.48
                                                                            Check all that apply.
            INTERTEK - USD
            2233 ARGENTIA ROAD, SUITE 201                                   ¨ Contingent
            MISSISSAUGA, ON L5N 2X7                                         ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                      Amount of claim

 3.21       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $22,690.14
                                                                            Check all that apply.
            JAMES RICHARDSON & SONS LIMITED
            3000 ONE LOMBARD PLACE                                          ¨ Contingent
            WINNIPEG, MB R3B OY1                                            ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.22       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $2,628.72
                                                                            Check all that apply.
            JOHN KNIGHT CONSULTING
            3666 JEWELL ST                                                  ¨ Contingent
            SAN DIEGO, CA 92109                                             ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.23       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $87,127.75
                                                                            Check all that apply.
            KATHLEEN RAMSAY
            ADDRESS REDACTED                                                ¨ Contingent
                                                                            ¨ Unliquidated
            Date or dates debt was incurred                                 ¨ Disputed

            Last 4 digits of account number:                                Basis for the claim:
                                                                            PROMISSORY NOTE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.24       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $14,395.68
                                                                            Check all that apply.
            KAWARTHA CREDIT UNION
            4 HUNTER ST E                                                   ¨ Contingent
            PETERBOROUGH, ON K9H 7R8                                        ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.25       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $292.39
                                                                            Check all that apply.
            KAWARTHA LAKES LINEN
            687 RYE ST                                                      ¨ Contingent
            PETERBOROUGH, ON K9J 6X1                                        ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                      Amount of claim

 3.26       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $1,360.81
                                                                            Check all that apply.
            LINDE CANADA INC.
            5015 SPECTRUM WAY, STE 500                                      ¨ Contingent
            MISSISSAUGA, ON L4W 0E4                                         ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.27       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $135.33
                                                                            Check all that apply.
            MCMASTER CARR USD
            9630 NORWALK BLVD                                               ¨ Contingent
            SANTA FE SPRINGS, CA 90670-2932                                 ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.28       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $44,617.62
                                                                            Check all that apply.
            MCWILLIAMS BROTHERS HOLDINGS INC.
            712 THE KINGSWAY                                                ¨ Contingent
            PETERBOROUGH, ON K9J 6W6                                        ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.29       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $480.22
                                                                            Check all that apply.
            MK SERVICES AND CONSULTING
            64 CAVAN ST                                                     ¨ Contingent
            PORT HOPE, ON L1A 3B6                                           ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.30       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $10,971.25
                                                                            Check all that apply.
            MVP
            323 WASHINGTON AVENUE N                                         ¨ Contingent
            SUITE 200                                                       ¨ Unliquidated
            MINNEAPOLIS, MN 55401                                           ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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                                                                                                                                      Amount of claim

 3.31       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                               $114.75
                                                                            Check all that apply.
            NET2PHONE CANADA
            5424 CANOTEK RD                                                 ¨ Contingent
            OTTAWA, ON K1J 1E9                                              ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.32       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $14,862.68
                                                                            Check all that apply.
            NUTRITION SUSTAINABILITY STRATEGIES LLC
            7901 4TH ST. N                                                  ¨ Contingent
            SUITE 13538                                                     ¨ Unliquidated
            ST. PETERSBURG, FL 33702                                        ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.33       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $18,482.82
                                                                            Check all that apply.
            PARTTIME CFO SERVICES
            5115 OAK HILLS ROAD                                             ¨ Contingent
            HAMILTON TOWNSHIP, ON K0L 1E0                                   ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.34       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $1,364.38
                                                                            Check all that apply.
            PETERBOROUGH UTILITIES SERVICES
            1867 ASHBURNHAM DR                                              ¨ Contingent
            PETERBOROUGH, ON K9J 6Z5                                        ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.35       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $906.45
                                                                            Check all that apply.
            RENT ALL CENTRE
            30 ELGIN ST W                                                   ¨ Contingent
            COBOURG, ON K9A 5T4                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




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 3.36       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $7,252.91
                                                                            Check all that apply.
            RICHTER LLP
            181 BAY ST, #3510                                               ¨ Contingent
            BAY WELLINGTON TWR                                              ¨ Unliquidated
            TORONTO, ON M5J 2T3                                             ¨ Disputed
            CANADA                                                          Basis for the claim:
            Date or dates debt was incurred                                 TRADE PAYABLE
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.37       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $2,777.70
                                                                            Check all that apply.
            ROCHE DIAGNOSTICS, DIVISION OF HOFFMANN-LAROCHE
            LTD                                                             ¨ Contingent
            9115 HAGUE RD                                                   ¨ Unliquidated
            INDIANAPOLIS, IN 46256-1025                                     ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.38       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                               $54.28
                                                                            Check all that apply.
            ROCKY RIDGE
            100 RUBIDGE ST                                                  ¨ Contingent
            PETERBOROUGH, ON K9J 7Y1                                        ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.39       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $542.47
                                                                            Check all that apply.
            SAP CONCUR TECHNOLOGIES INC.
            601 108TH AVE NE, STE 1000                                      ¨ Contingent
            BELLEVUE, WA 98004                                              ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.40       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $3,147.82
                                                                            Check all that apply.
            SASKATCHEWAN FOOD INDUSTRY DEVELOPMENT
            CENTRE INC                                                      ¨ Contingent
            2335 SCHUYLER ST                                                ¨ Unliquidated
            SASKATOON, SK S7M 5V1                                           ¨ Disputed
            CANADA                                                          Basis for the claim:
            Date or dates debt was incurred                                 TRADE PAYABLE
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 11 of 15
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            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.41       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $6,812.57
                                                                            Check all that apply.
            SGS CANADA INC.
            6755 MISSISSAUGA RD, STE 204                                    ¨ Contingent
            MISSISSAUGA, ON L5N 7Y2                                         ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.42       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $4,317.48
                                                                            Check all that apply.
            SHIELDS O'DONNELL MACKILLOP LLP
            65 QUEEN ST W, STE 1800                                         ¨ Contingent
            TORONTO, ON M5H 2M5                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.43       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $1,606.53
                                                                            Check all that apply.
            SIGMA-ALDRICH CANADA CO.
            2149 WINSTON PARK DR                                            ¨ Contingent
            OAKVILLE, ON L6H 6J8                                            ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.44       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $6,331.50
                                                                            Check all that apply.
            SILLIKER CANADA CO. LTD.
            4-90 GOUGH RD                                                   ¨ Contingent
            MARKHAM, ON L3R 5V5                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.45       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $18,255.00
                                                                            Check all that apply.
            STELLARIA
            459 ALBERTUS AVENUE                                             ¨ Contingent
            PETERBOROUGH, ON K9J 5Z9                                        ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 12 of 15
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            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.46       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $105.51
                                                                            Check all that apply.
            THOMPSON AHERN INTERNATIONAL
            6299 AIRPORT RD, STE 305                                        ¨ Contingent
            MISSISSAUGA, ON L4V 1N3                                         ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.47       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $277.24
                                                                            Check all that apply.
            TRENT SECURITY SYSTEMS LTD
            480 THE PARKWAY                                                 ¨ Contingent
            PETERBOROUGH, ON K9J 7L9                                        ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.48       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                        $51,151.28
                                                                            Check all that apply.
            TRENT UNIVERSITY
            1600 WEST BANK DRIVE                                            ¨ Contingent
            PETERBOROUGH, ON K9J 7B8                                        ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.49       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $445.57
                                                                            Check all that apply.
            TRENT UNIVERSITY WATER QUALITY CENTRE
            1600 WEST BANK DRIVE                                            ¨ Contingent
            PETERBOROUGH, ON K9J 7B8                                        ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.50       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                       $106,666.78
                                                                            Check all that apply.
            TROUTMAN PEPPER
            UNION TRUST BUILDING, 501 GRANT STREET                          ¨ Contingent
            SUITE 300                                                       ¨ Unliquidated
            PITTSBURGH, PA 15219-4429                                       ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 13 of 15
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            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.51       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $295.18
                                                                            Check all that apply.
            ULINE CANADA CORP
            3333 JAMES SNOW PKWY N                                          ¨ Contingent
            MILTON, ON L9T 8L1                                              ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.52       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                          $8,917.60
                                                                            Check all that apply.
            UNIVERSITY OF GEORGIA
            104 CALDWELL HALL                                               ¨ Contingent
            ATHENS, GA 30602-6113                                           ¨ Unliquidated
                                                                            ¨ Disputed
            Date or dates debt was incurred
                                                                            Basis for the claim:
            Last 4 digits of account number:                                TRADE PAYABLE
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.53       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $207.13
                                                                            Check all that apply.
            VWR INTERNATIONAL CO.
            RADNOR CORPORATE CENTER                                         ¨ Contingent
            BLDG ONE, STE 200                                               ¨ Unliquidated
            100 MATSONFORD RD                                               ¨ Disputed
            RADNOR, PA 19087-8660                                           Basis for the claim:
            Date or dates debt was incurred                                 TRADE PAYABLE
                                                                            Is the claim subject to offset?
            Last 4 digits of account number:                                þ No
                                                                            ¨ Yes

 3.54       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                           $265.80
                                                                            Check all that apply.
            WASTE CONNECTIONS OF CANADA INC
            610 APPLEWOORD CRESCENT                                         ¨ Contingent
            VAUGHAN, ON L4K 0E3                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.55       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                               $59.07
                                                                            Check all that apply.
            WHITE CAP SUPPLY CANADA INC
            2703-61 AVE SE                                                  ¨ Contingent
            CALGARY, AB T2C 4X3                                             ¨ Unliquidated
            CANADA                                                          ¨ Disputed

            Date or dates debt was incurred                                 Basis for the claim:
                                                                            TRADE PAYABLE
            Last 4 digits of account number:                                Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 14 of 15
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             (Name)


  Part 2:    Additional Page

                                                                                                                                                   Amount of claim

 3.56        Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:                                  $32,844.75
                                                                                 Check all that apply.
             WILDEBOER DELLELCE LLP IN TRUST
             365 BAY STREET, SUITE 800                                           ¨ Contingent
             SUITE 800                                                           ¨ Unliquidated
             TORONTO, ON M5H 2V1                                                 ¨ Disputed
             CANADA                                                              Basis for the claim:
             Date or dates debt was incurred                                     TRADE PAYABLE
                                                                                 Is the claim subject to offset?
             Last 4 digits of account number:                                    þ No
                                                                                 ¨ Yes

 3.57        Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:                                        $0.00
                                                                                 Check all that apply.
             XEROX
             201 MERRITT 7                                                       ¨ Contingent
             NORWALK, CT 06851                                                   ¨ Unliquidated
                                                                                 ¨ Disputed
             Date or dates debt was incurred
                                                                                 Basis for the claim:
             Last 4 digits of account number:                                    TRADE - NOTICE ONLY
                                                                                 Is the claim subject to offset?
                                                                                 þ No
                                                                                 ¨ Yes

 3.58        Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:                                  $29,725.35
                                                                                 Check all that apply.
             YOUNG AMERICA CAPITAL
             141 EAST BOSTON POST ROAD                                           ¨ Contingent
             MAMARONECK, NY 10543                                                ¨ Unliquidated
                                                                                 ¨ Disputed
             Date or dates debt was incurred
                                                                                 Basis for the claim:
             Last 4 digits of account number:                                    TRADE PAYABLE
                                                                                 Is the claim subject to offset?
                                                                                 þ No
                                                                                 ¨ Yes




  Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims




 5.     Add the amounts of priority and nonpriority unsecured claims.



                                                                                                                                     Total of claim amounts



 5a.    Total claims from Part 1                                                                                           5a.                                $0.00




 5b.    Total claims from Part 2                                                                                           5b.   +                   $1,426,112.79




 5c.    Total of Parts 1 and 2                                                                                             5c.                       $1,426,112.79
        Lines 5a + 5b = 5c.




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 15
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  Fill in this information to identify the case:

 Debtor        Noblegen Inc.


 United States Bankruptcy Court for the:    District of Delaware


 Case number           24-11403
  (if known)
                                                                                                                                                     ¨ Check if this is an
                                                                                                                                                        amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                                12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.     Does the debtor have any executory contracts or unexpired leases?
        ¨ No. Check this box and file this form with the court with the debtor’s other schedules . There is nothing else to report on this form.
        þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
               Form 206A/B).

 2.     List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with
                                                                                                whom the debtor has an executory contract or unexpired lease


 2.1             State what the contract        LEASE AGREEMENT (650 THE                          MCWILLIAMS BROTHERS HOLDINGS LTD
                 or lease is for and the        KINGSWAY, PETERBOROUGH, ON,                       712 THE KINGSWAY
                 nature of the debtor’s         CANADA)                                           PETERBOROUGH, ON K9J 6W6
                 interest                                                                         CANADA

                 State the term remaining

                 List the contract number
                 of any government
                 contract

 2.2             State what the contract        LEASE AGREEMENT (CERTAIN LAB                      TRENT UNIVERSITY
                 or lease is for and the        SPACE AT 2140 EAST BANK DRIVE,                    2140 E BANK DR
                 nature of the debtor’s         PETERBOROUGH, ON, CANADA)                         PETERBOROUGH, ON K9L 1Z8
                 interest                                                                         CANADA

                 State the term remaining

                 List the contract number
                 of any government
                 contract

 2.3             State what the contract        INSURANCE POLICY (POLICY NUMBER                   TRINITY UNDERWRITING
                 or lease is for and the        DM302112-2022-002)                                55 YORK ST, STE 400
                 nature of the debtor’s                                                           TORONTO, ON M5J 1R7
                 interest                                                                         CANADA

                 State the term remaining

                 List the contract number
                 of any government
                 contract




Official Form 206G                                          Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        Noblegen Inc.


 United States Bankruptcy Court for the:   District of Delaware


 Case number           24-11403
  (if known)
                                                                                                                                                        ¨ Check if this is an
                                                                                                                                                              amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ Yes.

 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                       Column 2: Creditor
                                                                                                                                                              Check all schedules
                 Name                              Mailing Address                                                 Name
                                                                                                                                                              that apply

 2.1             SOLAR BIOTECH, INC.               5516 INDUSTRIAL PARK ROAD                                       INGREDION INCORPORATED                     þ D
                                                   NORTON, VA 24273                                                                                           ¨ E/F
                                                                                                                                                              ¨ G




Official Form 206H                                                          Schedule H: Codebtors                                                                        Page 1 of 1
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Fill in this information to identify the case:

Debtor        Noblegen Inc.


United States Bankruptcy Court for the:    District of Delaware


Case number           24-11403
 (if known)
                                                                                                                                                       ¨ Check if this is an
                                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                                04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).




 Part 1:          Income

  1. Gross revenue from business
       þ None



  2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
       þ None


 Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers ¾including expense reimbursements ¾to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted
     on 4/1/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
       ¨ None
              TO BE PROVIDED

  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/1/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do
     not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates ; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).
       ¨ None

                TO BE PROVIDED

  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
       þ None


  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
     account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
     debtor owed a debt.
       þ None


 Part 3:          Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
     involved in any capacity-within 1 year before filing this case.
       þ None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          Page 1 of 6
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 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
    hands of a receiver, custodian, or other court- appointed officer within 1 year before filing this case.
     þ None


 Part 4:     Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
    value of the gifts to that recipient is less than $1,000

     þ None


 Part 5:     Certain Losses


 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     þ None


 Part 6:     Certain Payments or Transfers


 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
     filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking
     bankruptcy relief, or filing a bankruptcy case.
     ¨ None

           Who was paid or who received the transfer?                If not money, describe any property                    Dates                         Total
                                                                     transferred                                                                          amount or

           NEWPOINT ADVISORS CORPORATION                                                                              6/20/2024                              $10,000.00
           1320 TOWER RD
           SCHAUMBURG, IL 60173
           Email or website address

           PORZIO, BROMBERG & NEWMAN, P.C.                                                                            6/23/2024                            $125,000.00
           100 SOUTHGATE PARKWAY
           MORRISTOWN, NJ 07962
           Email or website address


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
     case to a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     þ None


 13. Transfers not already listed on this statement
     List any transfers of money or other property ¾by sale, trade, or any other means ¾made by the debtor or a person acting on behalf of the
     debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
     financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
     þ None


 Part 7:     Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ¨ Does not apply

           Address                                                                                            Dates of occupancy

           2140 EAST BANK DRIVE                                                                               From 2023                        To CURRENT
           PETERBOROUGH, ON K9L 0G2
           CANADA


 Part 8:     Health Care Bankruptcies




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             Page 2 of 6
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 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for :
     ¾     diagnosing or treating injury, deformity, or disease, or
     ¾     providing any surgical, psychiatric, drug treatment, or obstetric care?
      þ No. Go to Part 9.


 Part 9:      Personal Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
      þ No.
      ¨ Yes. State the nature of the information collected and retained.


 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

      þ No. Go to Part 10.
      ¨ Yes. Does the debtor serve as plan administrator?




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name , or for the debtor’s benefit, closed,
     sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
     houses, cooperatives, associations, and other financial institutions.
      þ None


 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing
     this case.
      þ None


 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
     in which the debtor does business.
      þ None


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.
      þ None


 Part 12:     Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
  n   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
      regardless of the medium affected (air, land, water, or any other medium).
  n   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the
      debtor formerly owned, operated, or utilized.
  n   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant,
      contaminant, or a similarly harmful substance.
 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      þ No
      ¨ Yes. Provide details below.




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            (Name)



 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     þ No
     ¨ Yes. Provide details below.


 24. Has the debtor notified any governmental unit of any release of hazardous material?
     þ No
     ¨ Yes. Provide details below.


 Part 13:     Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
     þ None


 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              ¨ None

                Name and address                                                                                   Dates of service

                TIM MCLAREN                                                                                        From NA                       To CURRENT
                PART TIME CFO SERVICES LLP
                C/O NOBLEGEN INC.
                2140 EAST BANK DRIVE, DNA B 102
                PETERBOROUGH, ON K9L 0G2
                CANADA

     26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.
              ¨ None

                Name and address                                                                                   Dates of service

                BDO CANADA                                                                                         From 2023                     To CURRENT
                201 GEORGE STREET NORTH, SUITE 202
                P.O. BOX 1018
                PETERBOROUGH, ON K9J 7A5
                CANADA

     26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed .
              ¨ None

                Name and address                                                                                   If any books of account and records are
                                                                                                                   unavailable, explain why

                TIM MCLAREN
                PART TIME CFO SERVICES LLP
                C/O NOBLEGEN INC.
                2140 EAST BANK DRIVE, DNA B 102
                PETERBOROUGH, ON K9L0G2
                CANADA

     26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.
              þ None


 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     þ None


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

     ¨ None




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           Name                                    Address                                                  Position and nature of any            % of interest, if any
                                                                                                            interest

           SOLAR BIOTECH, INC.                     5516 INDUSTRIAL PARK ROAD                                OWNER                                 100%
                                                   NORTON, VA 24273
           ALEX BERLIN                             5516 INDUSTRIAL PARK ROAD                                CHAIRMAN, CEO AND CTO
                                                   NORTON, VA 24273
           ZSOLT POPSE                             5516 INDUSTRIAL PARK ROAD                                VICE-CHAIRMAN AND
                                                   NORTON, VA 24273                                         CHIEF ENGINEERING
                                                                                                            OFFICER

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
     control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

     ¨ None

           Name                                  Address                                            Position and nature           Period during which position or
                                                                                                    of any interest               interest was held

           ADAM NOBLE                            5516 INDUSTRIAL PARK ROAD                          CHIEF EXECUTIVE               From 2013             To 2023
                                                 NORTON, VA 24273                                   OFFICER

           ADAM NOBLE                            5516 INDUSTRIAL PARK ROAD                          CHIEF VISIONARY               From 2023             To 2023
                                                 NORTON, VA 24273                                   OFFICER/DIRECTOR


 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     ¨ None

         SEE RESPONSE TO QUESTION 4

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     þ None


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     þ None




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